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                               K&L GATES LLP
                               K&L GATES CENTER
                               210 SIXTH AVENUE
                               PITTSBURGH, PA 15222-2613
                               T +1 412 355 6500 F +1 412 355 6501 klgates.com
                               Tax ID No. 25 0921018




Westinghouse Electric Co. LLC                                                        Invoice Date                          :      June 23, 2017
1000 Westinghouse Drive                                                              Invoice Number                        :      3399532
Cranberry Township, PA 16066                                                         Services Through                      :      May 31, 2017




0236915.00030           Subpoena Response


                                                         INVOICE SUMMARY

Fees                                                                                                                                     $       371,340.00
Disbursements and Other Charges                                                                                                          $         5,904.76

CURRENT INVOICE DUE                                                                                                                      $       377,244.76




                                                              Due and Payable upon Receipt
          Mail: K&L Gates LLP, K&L Gates Center – RCAC, 210 Sixth Ave, Pittsburgh, PA 15222
          Wire Transfer Instructions: Receiving Bank: The Bank of New York Mellon, 500 Ross Street, Pittsburgh, PA 15262
                                      BIC Code: IRVTUS3N
                                      ABA: 043000261
                                      Beneficiary: K&L Gates LLP AIS Account
                                      Acct No.: 127-2657
                                    When initiating a wire transfer/ACH, please reference client/matter number on wire information and please send
                                    notification to RCAC_East@klgates.com with details including dollar amount, date and client/matter/invoice number(s).
17-10751-mew    Doc 1363-11   Filed 09/14/17 Entered 09/14/17 10:43:57       Exhibit J-2
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                                      FEES

DATE       NAME               HRS TASK       DESCRIPTION                    AMOUNT
03/29/17   V. L. Martinez     1.30 L120      Call with counsel for KPMG       910.00
                                             regarding WEC's need to
                                             conduct a privilege review
03/29/17   V. L. Martinez     0.70 L120      Review and revise                 490.00
                                             proposed redactions to
                                             KPMG documents sent by
                                             N. Stockey
03/29/17   V. L. Martinez     1.00 L120      Call with cleint and T. Ryan      700.00
                                             to discuss KPMG privilege
                                             review
03/29/17   V. L. Martinez     0.50 L120      Prepare privilege log and         350.00
                                             send documents with
                                             redactions to N. Stockey
03/29/17   N. A. Stockey      2.50 L120      Revise privilege                  925.00
                                             annotations to KPMG
                                             documents for WEC for
                                             privilege
03/29/17   N. A. Stockey      0.50 L120      Draft privilege log for           185.00
                                             KPMG privilege redactions
03/29/17   N. A. Stockey      0.90 L120      Analyze correspondence            333.00
                                             and documents related to
                                             SEC subpoena issues
03/29/17   M.L. Thibadeau     0.20 L120      Correspond with E. Fleury           74.00
                                             regarding followup research
                                             on subpoena issues
03/29/17   M.L. Thibadeau     0.10 L120      Review and prepare emails           37.00
                                             to C. Dale and T. Ryan
                                             regarding subpoena issue
03/30/17   S. N. Hastings     2.40 L110      Prepare for and participate     1,680.00
                                             in interviews related to
                                             narrative response
03/30/17   S. N. Hastings     0.40 L110      Review and revised                280.00
                                             privilege log for KPMG
                                             materials
03/30/17   R. W. Hosking      0.50 L120      Follow up regarding prior         350.00
                                             conference with client and
                                             T. Ryan
03/30/17   V. L. Martinez     0.80 L110      Review and revise                 560.00
                                             memoranda related to
                                             narrative response
03/30/17   V. L. Martinez     0.20 L110      Correspond with co-counsel        140.00
                                             regarding meeting to
                                             discuss investigation
                                             matters
03/30/17   V. L. Martinez     0.40 L120      Review correspondence             280.00
                                             from KPMG's counsel to the
                                             SEC regarding subpoena
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DATE       NAME               HRS TASK      DESCRIPTION                     AMOUNT
03/30/17   V. L. Martinez     0.30 L120     Correspond with N. Stockey        210.00
                                            regarding privilege log for
                                            KPMG
03/30/17   V. L. Martinez     0.50 L120     Review and revise privilege       350.00
                                            log
03/30/17   V. L. Martinez     0.20 L120     Correspond with T. Ryan           140.00
                                            and S. Hastings regarding
                                            privilege log
03/30/17   V. L. Martinez     0.60 L120     Review and share privilege        420.00
                                            log and production to
                                            KPMG counsel
03/30/17   N. A. Stockey      1.30 L190     Update and revise privilege       481.00
                                            log for KPMG privilege
                                            redactions
03/30/17   N. A. Stockey      0.20 L190     Conference with V.                  74.00
                                            Martinez regarding privilege
                                            log and redactions
03/30/17   N. A. Stockey      1.20 L190     Analyze correspondence            444.00
                                            and documents related to
                                            SEC subpoena issues
03/31/17   V. L. Martinez     0.50 L110     Correspond with client            350.00
                                            regarding follow-up
                                            production
03/31/17   V. L. Martinez     1.00 L110     Conference with attorneys         700.00
                                            for KPMG regarding
                                            discussion of privilege
                                            review procedure
03/31/17   V. L. Martinez     0.50 L110     Review and revise the             350.00
                                            interview memorandum
03/31/17   V. L. Martinez     0.60 L110     Correspond with client            420.00
                                            regarding ESOP issue
03/31/17   V. L. Martinez     0.40 L110     Review and revise letter to       280.00
                                            SEC regarding answering
                                            narrative inquiries
03/31/17   V. L. Martinez     0.40 L110     Correspond with T. Ryan           280.00
                                            regarding narrative inquiries
03/31/17   V. L. Martinez     0.30 L110     Correspond with attorneys         210.00
                                            for KPMG regarding
                                            privilege review portal
03/31/17   V. L. Martinez     0.80 L110     Send privilege review             560.00
                                            information to S. Hastings,
                                            N. Stockey and T. Ryan
03/31/17   N. A. Stockey      2.50 L120     Analyze Japanese                  925.00
                                            language MOI translations
                                            to identify issues related to
                                            government investigation
03/31/17   N. A. Stockey      0.90 L120     Review, revise, and update        333.00
                                            MOIs for support of
                                            narrative responses
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DATE       NAME               HRS TASK      DESCRIPTION                   AMOUNT
03/31/17   M.L. Thibadeau     2.30 L120     Research bankruptcy issue       851.00
                                            and prepare memorandum
                                            regarding same
04/02/17   J. D. Morrison     1.00 L120     Research effect of               370.00
                                            bankruptcy issues on SEC
                                            enforcement action
04/03/17   S. N. Hastings     1.00 L110     Call with KPMG counsel           700.00
04/03/17   S. N. Hastings     1.00 L110     Conference with co-counsel       700.00
04/03/17   S. N. Hastings     0.40 L110     Attention to redactions and      280.00
                                            underlying strategy
04/03/17   R. W. Hosking      1.00 L190     Review SEC materials and         700.00
                                            related memoranda/emails
04/03/17   V. L. Martinez     0.30 L120     Review terms of KPMG             210.00
                                            engagement letter review
                                            platform
04/03/17   V. L. Martinez     1.00 L120     Conference with attorneys        700.00
                                            from KPMG regarding
                                            redactions
04/03/17   V. L. Martinez     0.40 L120     Discuss redaction approach       280.00
                                            with S. Hastings
04/03/17   V. L. Martinez     1.00 L120     Revise redactions                700.00
04/03/17   V. L. Martinez     0.50 L120     Conference with N. Stockey       350.00
                                            to prepare for privilege
                                            review of KPMG documents
04/03/17   V. L. Martinez     0.50 L120     Correspond with J. Gagen         350.00
                                            regarding KPMG document
                                            production protocol
04/03/17   V. L. Martinez     1.30 L120     Follow-up conference with        910.00
                                            KPMG counsel regarding
                                            production and disussion
                                            points
04/03/17   J. D. Morrison     1.00 C200     Research bankruptcy              370.00
                                            issues as related to SEC
                                            enforcement action
04/03/17   N. A. Stockey      0.70 L120     Conference with V.               259.00
                                            Martinez regarding KPMG
                                            document review and
                                            privilege issues
04/03/17   N. A. Stockey      1.00 L120     Analyze materials from           370.00
                                            Williams & Connelly
                                            regarding privilege issues
04/03/17   N. A. Stockey      0.70 L120     Analyze SEC subpoena             259.00
                                            correspondence and
                                            materials from T. Ryan and
                                            co-counsel
04/03/17   M.L. Thibadeau     2.40 L120     Research bankruptcy case         888.00
                                            law
04/04/17   S. N. Hastings     0.40 L110     Review subpoena review           280.00
                                            protocol
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DATE       NAME               HRS TASK      DESCRIPTION                   AMOUNT
04/04/17   V. L. Martinez     4.00 L120     Travel to Pittsburgh           2,800.00
04/04/17   V. L. Martinez     1.00 L120     Conference with team to          700.00
                                            start them on KPMG
                                            document review
04/04/17   V. L. Martinez     0.40 L120     Correspond with KPMG             280.00
                                            attorneys regarding
                                            document review portal and
                                            redaction approach to
                                            KPMG documents
04/04/17   V. L. Martinez     0.30 L120     Correspond with co-counsel       210.00
                                            regarding production of
                                            Toshiba KPMG documents
04/04/17   V. L. Martinez     1.30 L120     Draft action plan for SEC        910.00
                                            subpoena response and
                                            investigation
04/04/17   J. D. Morrison     4.10 C200     Research bankruptcy            1,517.00
                                            issues related to SEC
                                            enforcement action
04/04/17   N. A. Stockey      1.00 L120     Conference with V.               370.00
                                            Martinez and S. Reger
                                            regarding privilege review
                                            for KPMG documents
04/04/17   N. A. Stockey      1.30 L120     Review and analyze letters       481.00
04/04/17   N. A. Stockey      0.30 L120     Conference with S. Reger         111.00
                                            regarding privilege review
                                            and logistics of relativity
04/04/17   M.L. Thibadeau     2.60 L120     Research case law and            962.00
                                            prepare memorandum on
                                            bankruptcy issue as it
                                            relates to SEC action
04/05/17   S. N. Hastings     1.50 L110     Attention to SEC subpoena      1,050.00
                                            related action items,
                                            including strategy
                                            discussion with T. Ryan
                                            and V. Martinez and email
                                            correspondence with co-
                                            counsel
04/05/17   V. L. Martinez     1.80 L120     Research and anlayze           1,260.00
                                            WEC securities issues
04/05/17   V. L. Martinez     1.50 L120     Conferencewith S. Hastings     1,050.00
                                            and T. Ryan to discuss all
                                            aspects of the SEC
                                            subpoena response and
                                            investigation
04/05/17   V. L. Martinez     0.50 L120     Draft action plan                350.00
04/05/17   V. L. Martinez     0.40 L120     Draft email to KPMG              280.00
                                            counsel regarding
                                            agreement on redactions
04/05/17   V. L. Martinez     1.00 L120     Follow-up with client            700.00
                                            regarding privilege
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DATE       NAME               HRS TASK      DESCRIPTION                     AMOUNT
                                            assertions over certain
                                            KPMG matters
04/05/17   V. L. Martinez     2.30 L120     Review and analyze Janus         1,610.00
                                            issues
04/05/17   V. L. Martinez     1.20 L120     Conference with Alix               840.00
                                            counsel regarding status of
                                            subpoena response and
                                            follow-up to same
04/05/17   S. P. Reger        1.30 L650     Review KPMG documents              481.00
                                            for privilege
04/05/17   N. A. Stockey      1.00 L120     Analyze KPMG documents             370.00
                                            for privilege and make
                                            redactions
04/05/17   N. A. Stockey      0.50 L120     Conference with S. Reger           185.00
                                            regarding privilege
                                            redactions
04/05/17   N. A. Stockey      1.20 L120     Review and analyze                 444.00
                                            documents for SEC
                                            subpoena issues and
                                            production
04/05/17   M.L. Thibadeau     3.50 L120     Research case law and            1,295.00
                                            prepare draft memorandum
                                            regarding bankruptcy
                                            issues
04/06/17   S. N. Hastings     2.00 L110     Attention to privilege review    1,400.00
                                            issues, including prepare
                                            for and call with co-counsel
                                            and review redactions
04/06/17   V. L. Martinez     1.50 L120     Review Japanese                  1,050.00
                                            investigation report
04/06/17   V. L. Martinez     3.50 L120     Review materials to identify     2,450.00
                                            issues related to
                                            investigation
04/06/17   V. L. Martinez     0.70 L120     Conference with client             490.00
                                            regarding additional
                                            materialsfor production to
                                            SEC
04/06/17   V. L. Martinez     0.30 L120     Correspond with KPMG               210.00
                                            counsel regarding privilege
                                            possitions
04/06/17   V. L. Martinez     1.00 L120     Review separation                  700.00
                                            agreement of former
                                            employee
04/06/17   N. A. Stockey      1.40 L120     Analyze materials sent by          518.00
                                            T. Ryan for WEC SEC
                                            subpoena issues and
                                            production
04/06/17   M.L. Thibadeau     3.20 L120     Research and draft               1,184.00
                                            memoradum surrounding
                                            effect of bankruptcy issues
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DATE       NAME               HRS TASK      DESCRIPTION                     AMOUNT
                                            on subpoena
04/07/17   S. N. Hastings     1.00 L110     Attention to SEC subpoena          700.00
                                            issues, including privilege
                                            review
04/07/17   V. L. Martinez     0.70 L120     Conference with team               490.00
                                            regarding production of
                                            KPMG documents
04/07/17   V. L. Martinez     0.50 L120     Call with client regarding         350.00
                                            certain KPMG documents
                                            and other materials
                                            responsive to SEC
                                            subpoena
04/07/17   V. L. Martinez     0.30 L120     Submit documents to L.             210.00
                                            Diersen for inclusion in
                                            production database
04/07/17   V. L. Martinez     0.60 L120     Conference with co-counsel         420.00
                                            on review of KPMG
                                            documents
04/07/17   V. L. Martinez     1.90 L120     Draft and revise analysis of     1,330.00
                                            materials responsive to
                                            SEC subpoena
04/07/17   V. L. Martinez     4.00 L120     Travel home to Washington        2,800.00
04/07/17   J. D. Morrison     0.90 C200     Review and make redline            333.00
                                            revisions to memorandum
                                            summarizing applicability of
                                            bankruptcy issues to
                                            pending SEC Enforcement
                                            Action
04/07/17   N. A. Stockey      1.70 L120     Analyze privilege issues per       629.00
                                            T. Ryan and S. Hastings
04/07/17   M.L. Thibadeau     3.00 L120     Prepare memorandum on            1,110.00
                                            bankruptcy issues with
                                            respect to subpoena
04/10/17   S. N. Hastings     1.00 L110     Attention to privilege review      700.00
                                            issues including reviewing
                                            Deloitte materials and
                                            emails and calls with team
                                            regarding same
04/10/17   V. L. Martinez     0.50 L120     Conference with client on          350.00
                                            privileged nature of certain
                                            KPMG engagements
04/10/17   V. L. Martinez     0.40 L120     Coordinate with with S.            280.00
                                            Hastings regarding review
                                            of Deloitte documents
04/10/17   V. L. Martinez     1.00 L120     Conference with co-counsel         700.00
                                            regarding privilege review
                                            issues and recent decision
                                            regarding extraterritorial
                                            application of SEC antifraud
                                            statutes
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DATE       NAME               HRS TASK      DESCRIPTION                     AMOUNT
04/10/17   V. L. Martinez     0.40 L120     Coordinate with T. Ryan           280.00
                                            regarding status of
                                            subpoena production
04/10/17   V. L. Martinez     1.00 L120     Review certain documents           700.00
                                            for privilege claims
04/10/17   V. L. Martinez     0.30 L120     Draft email to client              210.00
                                            regarding privilege claims
04/10/17   V. L. Martinez     0.50 L120     Correspond with KPMG               350.00
                                            counsel regarding certain
                                            documents
04/10/17   V. L. Martinez     2.40 L120     Draft and send email to S.       1,680.00
                                            Hastings and T. Ryan
                                            regarding production of
                                            WEC documents
04/10/17   N. A. Stockey      1.50 L120     Review and analyze                 555.00
                                            Deloitte documents for
                                            privilege per V. Martinez
                                            and S. Hastings
04/10/17   N. A. Stockey      0.30 L120     Analyze e-mails from co-           111.00
                                            counsel regarding privilege
                                            issues and subpoena
                                            response issues
04/11/17   S. N. Hastings     0.60 C300     Attention to privilege issues      420.00
                                            related to Deloitte
                                            documents
04/11/17   V. L. Martinez     0.30 L120     Send documents to L.               210.00
                                            Diersen for uploading to
                                            subpoena production
                                            database
04/11/17   V. L. Martinez     0.20 L120     Correspond with L. Diersen         140.00
                                            regarding peoduction
                                            database
04/11/17   V. L. Martinez     0.50 L120     Correspond and hold call           350.00
                                            with co-counsel regarding
                                            redactions to certain KPMG
                                            documents
04/11/17   V. L. Martinez     0.50 L120     Draft and send email to            350.00
                                            client regarding pivilege
                                            issues
04/11/17   V. L. Martinez     1.00 L120     Review certain Deloitte            700.00
                                            documents at the request of
                                            S. Hastings to confirm
                                            privilege analysis
04/11/17   V. L. Martinez     0.30 L120     Correspond with S.                 210.00
                                            Hastings regarding privilege
                                            analysis
04/11/17   V. L. Martinez     0.70 L120     Correspond with co-counsel         490.00
                                            regarding Deloitte
                                            subpoena
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DATE       NAME               HRS TASK      DESCRIPTION                     AMOUNT
04/11/17   V. L. Martinez     1.50 L120     Read opinion in SEC v.           1,050.00
                                            Traffic Monsoon et al., and
                                            import to legal strategies
04/11/17   V. L. Martinez     1.20 L120     Review testimony                   840.00
                                            summary
04/11/17   N. A. Stockey      0.50 L120     Update and finalize                185.00
                                            privilege redactions for
                                            Deloitte documents per S.
                                            Hastings
04/11/17   N. A. Stockey      0.40 L120     Analyze correspondence             148.00
                                            and weekly updates and
                                            related materials related to
                                            SEC subpoenas
04/11/17   N. A. Stockey      0.90 L120     Conference with S. Reger           333.00
                                            regarding Deloitte privilege
                                            issues and redactions
04/12/17   S. N. Hastings     2.00 L110     Attention to SEC production      1,400.00
                                            and privilege review issues,
                                            including calls with client,
                                            co-counsel and counsel for
                                            KPMG
04/12/17   V. L. Martinez     1.60 L120     Review and analyze               1,120.00
                                            testimony summary
04/12/17   V. L. Martinez     3.70 L120     Prepare for interview of         2,590.00
                                            former employee
04/12/17   V. L. Martinez     1.30 L120     Review and prepare initial         910.00
                                            production
04/13/17   S. N. Hastings     1.00 L110     Attention to privilege             700.00
                                            reviews, including revising
                                            project descriptions and
                                            email correspondence with
                                            client regarding same
04/13/17   R. W. Hosking      0.50 L120     Review weekly report on            350.00
                                            SEC matters and related
                                            materials
04/13/17   V. L. Martinez     1.20 L120     Conduct phone interview of         840.00
                                            former employee
04/13/17   V. L. Martinez     0.50 L120     Follow-up with T. Ryan             350.00
                                            regarding interview of
                                            former employee
04/13/17   V. L. Martinez     0.70 L120     Review engagement letters          490.00
                                            and apply redactions to
                                            other engagement letters
04/13/17   V. L. Martinez     1.00 L120     Conduct research regarding         700.00
                                            attorney-client privilege and
                                            work product protection
04/13/17   V. L. Martinez     0.70 L120     Conference with co-counsel         490.00
                                            regarding work product
                                            protection
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DATE       NAME               HRS TASK      DESCRIPTION                    AMOUNT
04/13/17   V. L. Martinez     0.40 L120     Correspond with KPMG             280.00
                                            counsel regarding work
                                            product protection
04/13/17   T. C. Ryan         0.50 L110     Conference with SEC               350.00
                                            counsel
04/13/17   T. C. Ryan         0.40 L110     Conference with EY                280.00
                                            counsel
04/13/17   T. C. Ryan         0.40 L110     Follow-up notes to team           280.00
04/13/17   T. C. Ryan         0.10 L110     Review status of document          70.00
                                            collection and production
04/13/17   N. A. Stockey      0.50 L120     Draft descriptions for            185.00
                                            privileged engagement
                                            letters per S. Hastings
04/13/17   N. A. Stockey      1.30 L120     Review and analyze                481.00
                                            correspondence related to
                                            privilege issues
04/13/17   N. A. Stockey      0.60 L120     Review correspondence             222.00
                                            and materials related to
                                            SEC subpoena production
04/13/17   M.L. Thibadeau     0.70 L120     Revise draft memorandum           259.00
                                            regarding government
                                            investigation and
                                            bankruptcy issues
04/14/17   S. N. Hastings     0.50 L110     Emails and telephone              350.00
                                            conference with co-counsel
                                            and Deloitte's counsel
                                            regarding privilege review
04/14/17   V. L. Martinez     0.50 L120     Coordinate production of          350.00
                                            WEC internal materials
04/14/17   V. L. Martinez     0.50 L120     Draft letter to SEC, along        350.00
                                            with confidentiality request
04/14/17   V. L. Martinez     0.30 L120     Correspond with S.                210.00
                                            Hastings and T. Ryan
                                            regarding confidentiality
                                            request
04/14/17   V. L. Martinez     0.40 L120     Correspond with KPMG              280.00
                                            counsel regarding review of
                                            KPMG documents
04/14/17   V. L. Martinez     0.40 L120     Calls with co-counsel             280.00
                                            regardingreview of KPMG
                                            documents
04/14/17   V. L. Martinez     3.30 L120     Review and analyze              2,310.00
                                            employee settlement
                                            agreement and correspond
                                            with co-counsel regarding
                                            same
04/14/17   T. C. Ryan         0.50 L120     Review status of production       350.00
04/14/17   T. C. Ryan         0.50 L120     Analyze substantive issues        350.00
                                            regading production
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DATE       NAME               HRS TASK      DESCRIPTION                     AMOUNT
04/14/17   T. C. Ryan         0.20 L120     Review and revise cover           140.00
                                            letter
04/14/17   T. C. Ryan         0.30 L120     Conference with co-counsel         210.00
                                            regarding interview of
                                            former employee
04/17/17   S. N. Hastings     0.60 L110     Attention to privilege review      420.00
                                            issues, including
                                            correspondence with co-
                                            counsel and Deloitte's
                                            counsel
04/17/17   R. W. Hosking      1.00 L120     Review memoranda and               700.00
                                            emails regarding
                                            bankruptcy issues and
                                            subpoenas
04/17/17   R. W. Hosking      0.40 L120     Emails and conferences             280.00
                                            regarding bankruptcy
                                            issues and subpoenas and
                                            regarding strategy
04/18/17   S. N. Hastings     0.80 L110     Attention to Deloitte log and      560.00
                                            privilege review, including
                                            calls with co-counsel and
                                            counsel for Deloitte
04/18/17   V. L. Martinez     0.30 L120     Review weekly report               210.00
04/18/17   V. L. Martinez     0.20 L120     Correspond with S.                 140.00
                                            Hastings and T. Ryan
                                            regarding weekly report
04/18/17   V. L. Martinez     0.50 L120     Review and analyze hot             350.00
                                            document from document
                                            review
04/18/17   V. L. Martinez     0.70 L120     Correspond with co-counsel         490.00
                                            regarding document review
04/18/17   V. L. Martinez     1.30 L120     Review settlement                  910.00
                                            agreement language
                                            provided by co-counsel and
                                            comment on same
04/18/17   S. P. Reger        2.00 L110     Draft MOI for interview of         740.00
                                            former employee
04/18/17   N. A. Stockey      1.20 L120     Analyze materials for              444.00
                                            production to SEC per e-
                                            mails from T. Ryan
04/19/17   S. A. Bronder      4.50 P280     Attend meetings with T.          1,665.00
                                            Ryan and various WEC
                                            personnel regarding
                                            approach and initial
                                            collection of documents
04/19/17   S. A. Bronder      0.80 P280     Draft outline of process           296.00
                                            memo
04/19/17   S. A. Bronder      0.60 P280     Non-working travel to WEC          222.00
04/19/17   S. N. Hastings     0.30 L110     Attention to privilege             210.00
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DATE       NAME               HRS TASK      DESCRIPTION                     AMOUNT
                                            reviews, including call with
                                            other counsel
04/19/17   R. W. Manoso       2.70 L190     Review background                  999.00
                                            materials on internal
                                            investigation in relation to
                                            SEC investigation
04/19/17   V. L. Martinez     3.50 L120     Review hot documents and         2,450.00
                                            financial statements in
                                            preparation of narrative
                                            response
04/19/17   V. L. Martinez     0.50 L120     Correspond and hold call           350.00
                                            with T. Ryan regarding
                                            action plan items for the
                                            SEC investigation
04/19/17   V. L. Martinez     0.30 L120     Conference with KPMG               210.00
                                            counsel regarding status of
                                            review and production
04/19/17   V. L. Martinez     3.70 L120     Review and revise                2,590.00
                                            memorandum summaizing
                                            SEC's jurisdictional theories
04/19/17   S. P. Reger        1.00 L110     Finalize MOI of former             370.00
                                            employee interview
04/19/17   S. P. Reger        1.10 L110     Analyze Toshiba IIC report         407.00
                                            related to SEC jurisdictional
                                            issues
04/19/17   T. C. Ryan         8.00 L110     Conduct document                 5,600.00
                                            collection interviews on-site
                                            in preparation for subpoena
                                            production and narrative
                                            responses
04/19/17   N. A. Stockey      0.80 L120     Review and analyze                 296.00
                                            correspondence from co-
                                            counsel and materials for
                                            SEC subpoena issues
04/20/17   M. D. M. Bateman   2.00 L120     Conference with team               740.00
                                            regarding investigation
04/20/17   M. D. M. Bateman   2.30 L120     Review briefs related to           851.00
                                            privilege
04/20/17   S. A. Bronder      2.00 P930     Conference with team               740.00
                                            regading background, next
                                            steps and drafting of
                                            strategy memo
04/20/17   A. R. Cashman      2.00 L120     Conference regarding SEC           740.00
                                            subpoena response
04/20/17   A. R. Cashman      3.50 L120     Legal research regarding         1,295.00
                                            privilege and SEC issues
04/20/17   A. R. Cashman      1.30 L120     Coordinate regarding               481.00
                                            strategy
04/20/17   L. A. Diersen      1.20 L140     Organize, stage and load           240.00
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DATE       NAME               HRS TASK      DESCRIPTION                     AMOUNT
                                            documents into WEC SEC
                                            database as requested by
                                            V. Martinez
04/20/17   K. M. Gafner       2.00 L120     Attend team status meeting         740.00
04/20/17   K. M. Gafner       0.70 L120     Review documents for use           259.00
                                            in response to subpoena
04/20/17   S. N. Hastings     1.70 L110     Team status call and             1,190.00
                                            attention to privilege issues
04/20/17   R. W. Manoso       2.20 L120     Review outline for memo            814.00
                                            regardinglegal research
                                            related to jurisdiction and
                                            causes of action
04/20/17   R. W. Manoso       1.40 L190     Attend meeting to discuss          518.00
                                            strategy and planning
                                            subpoena and potential
                                            bases for liability with T.
                                            Ryan, S. Hastings, V.
                                            Martinez
04/20/17   V. L. Martinez     1.00 L120     Conference with KLG team           700.00
                                            regarding steps needed to
                                            prepare to respond to the
                                            SEC
04/20/17   V. L. Martinez     0.70 L120     Conference with client             490.00
                                            regarding factual
                                            background
04/20/17   V. L. Martinez     0.60 L120     Review and revise strategy         420.00
                                            memorandum of action
                                            items to prepare for
                                            responding to the SEC
04/20/17   V. L. Martinez     0.50 L120     Conference with team to            350.00
                                            discuss necessary legal
                                            research
04/20/17   V. L. Martinez     0.30 L120     Correspond with S. Reger           210.00
                                            regarding document
                                            collection
04/20/17   V. L. Martinez     1.00 L120     Review and revise MOI              700.00
04/20/17   V. L. Martinez     0.20 L120     Correspond with S. Reger           140.00
                                            regarding MOI
04/20/17   V. L. Martinez     0.80 L120     Meet with S.                       560.00
                                            Lambrakopoulos to read
                                            her into the SEC matter
04/20/17   V. L. Martinez     1.30 L120     Conduct research regarding         910.00
                                            Exchange Act
04/20/17   V. L. Martinez     0.10 L120     Find and send previous              70.00
                                            research on questions of
                                            jurisdiction to A. Cashman
                                            and R. Manoso
04/20/17   S. P. Reger        2.00 L110     Participate in work plan           740.00
                                            meeting
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DATE       NAME               HRS TASK      DESCRIPTION                      AMOUNT
04/20/17   S. P. Reger        2.00 L110     Draft memorandum                   740.00
                                            overview of securities laws
                                            as applied to SEC
                                            investigation
04/20/17   T. C. Ryan         1.10 L120     Organize document                  770.00
                                            collection and response to
                                            the SEC
04/20/17   T. C. Ryan         1.30 L120     Address privilege issues           910.00
04/20/17   T. C. Ryan         3.60 L120     Organize legal and factual       2,520.00
                                            research for team
04/20/17   T. C. Ryan         2.00 L120     Conference with SEC team         1,400.00
                                            regarding legal and factual
                                            research
04/20/17   N. A. Stockey      2.00 L120     Attend team meeting for            740.00
                                            SEC subpoena and
                                            securities litigation strategy
                                            and issues
04/20/17   N. A. Stockey      1.00 L120     Research law for securities        370.00
                                            issues and SEC subpoena
                                            issues
04/20/17   N. A. Stockey      0.80 L120     Review and analyze                 296.00
                                            background materials for
                                            SEC subpoena
04/21/17   M. D. M. Bateman   3.00 L120     Research law related to          1,110.00
                                            provisions of the Securities
                                            Exchange Act
04/21/17   S. A. Bronder      1.00 P280     Conference call with auditor       370.00
                                            counsel
04/21/17   S. A. Bronder      1.00 P280     Confer with A. Cashman             370.00
                                            and T. Ryan regarding
                                            privilege
04/21/17   A. R. Cashman      4.90 L120     Conduct legal research           1,813.00
                                            regarding privilege
04/21/17   A. R. Cashman      1.00 L120     Conference with T. Ryan            370.00
                                            and S. Bronder regarding
                                            privilege
04/21/17   L. A. Gehm         0.40 C200     Meet with R. Manoso to             148.00
                                            discuss assignment
04/21/17   L. A. Gehm         4.30 C200     Research waiver with             1,591.00
                                            respect to attorney client
                                            privilege
04/21/17   S. N. Hastings     0.30 L110     Conference with auditor            210.00
                                            counsel
04/21/17   S. N. Hastings     0.20 L110     Internal conference                140.00
                                            regarding conference with
                                            auditor counsel
04/21/17   S. E.              0.70 B110     Review investigation-              490.00
           Lambrakopoulos                   related background material
                                            in connection with SEC
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DATE       NAME               HRS TASK      DESCRIPTION                      AMOUNT
                                            investigation
04/21/17   R. W. Manoso       1.00 L120     Additional attention to             370.00
                                            privilege issues, along with
                                            instruction to L. Gehm on
                                            further research
04/21/17   R. W. Manoso       3.00 L120     Research antifraud                1,110.00
                                            provisions for strategy
                                            memo, including recent
                                            treatment by courts and
                                            implications if court looks at
                                            where fraudulent conduct
                                            occurred
04/21/17   R. W. Manoso       0.90 L120     Research implication of             333.00
                                            Supreme Court's Janus
                                            opinion
04/21/17   V. L. Martinez     1.00 L120     Conference with T. Ryan             700.00
                                            and others regarding
                                            subpoena responses,
                                            research questions and
                                            related subjects
04/21/17   V. L. Martinez     0.30 L120     Direct associates regarding         210.00
                                            research questions
04/21/17   V. L. Martinez     2.40 L120     Review documents                  1,680.00
                                            regarding narrative
                                            response to SEC
04/21/17   S. P. Reger        4.00 C300     Draft memorandum                  1,480.00
                                            regarding potential causes
                                            of action underlying SEC
                                            investigation
04/21/17   N. A. Stockey      1.10 L120     Analyze legal privilege             407.00
                                            issues and securities
                                            litigation issues for SEC
                                            subpoena and related legal
                                            memorandum
04/24/17   M. D. M. Bateman   0.50 L120     Review co-counsel's                 185.00
                                            presentation on Morrison
                                            issue
04/24/17   A. R. Cashman      1.50 L120     Legal research regarding            555.00
                                            SEC matter
04/24/17   A. R. Cashman      1.60 L120     Draft strategy                      592.00
                                            memorandum
04/24/17   L. A. Gehm         1.50 C200     Research waiver with                555.00
                                            respect to attorney client
                                            privilege
04/24/17   L. A. Gehm         0.60 C200     Draft e-mail with findings          222.00
                                            and send to R. Manoso for
                                            review
04/24/17   R. W. Manoso       4.90 C200     Research cases and                1,813.00
                                            administrative proceedings
                                            regarding potential liability
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DATE       NAME               HRS TASK      DESCRIPTION                     AMOUNT
04/24/17   V. L. Martinez     0.20 L120     Correspond with co-counsel        140.00
                                            regarding subpoena
                                            productions issues with
                                            KPMG's counsel
04/24/17   S. P. Reger        3.60 L110     Draft memorandum                 1,332.00
                                            providing overview of anti-
                                            fraud securities laws
04/24/17   N. A. Stockey      1.60 L120     Research law regarding             592.00
                                            work product doctrine
04/25/17   M. D. M. Bateman   3.70 C200     Research jurisdictional          1,369.00
                                            issues
04/25/17   A. R. Cashman      8.40 L120     Draft strategy                   3,108.00
                                            memorandum
04/25/17   R. W. Manoso       2.10 C200     Continue research as to            777.00
                                            theories of liability in
                                            preparation for strategy
                                            memorandum
04/25/17   R. W. Manoso       3.00 L120     Draft portions of strategy       1,110.00
                                            memorandum discussing
                                            jurisdictional reach of
                                            antifraud provisions of
                                            securities laws
04/25/17   R. W. Manoso       0.30 L190     Conference with privilege          111.00
                                            issues regarding
                                            investigative report and
                                            related material with A.
                                            Cashman
04/25/17   S. P. Reger        6.00 C200     Draft memorandum                 2,220.00
                                            regarding anti-fraud
                                            provisions for securities
                                            laws
04/25/17   N. A. Stockey      2.70 L110     Continue to research               999.00
                                            regarding application of
                                            work product doctrine
04/26/17   M. D. M. Bateman   2.60 L120     Research law related to            962.00
                                            provision of securities law
04/26/17   A. R. Cashman      4.70 L120     Draft and revise strategy        1,739.00
                                            memorandum
04/26/17   K. M. Gafner       1.60 L120     Review research regarding          592.00
                                            jurisdiction
04/26/17   L. A. Gehm         0.20 C300     E-mail correspondence with          74.00
                                            R. Manoso regarding
                                            attorney client privilege
                                            research
04/26/17   R. W. Manoso       0.50 C200     Review questions regarding         185.00
                                            provisiosn of exchange act
                                            for purposes of strategic
                                            memorandum to client
04/26/17   R. W. Manoso       4.60 L120     Draft memorandum                 1,702.00
                                            sections related to potential
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DATE       NAME               HRS TASK      DESCRIPTION                    AMOUNT
                                            securities liabilities for
                                            purposes of strategic
                                            memorandum to client
04/26/17   R. W. Manoso       0.90 L190     Prepare for and attend            333.00
                                            status call re: privilege
                                            issues and strategic
                                            memorandum progress
04/26/17   S. P. Reger        6.90 C300     Research and draft              2,553.00
                                            memorandum regarding
                                            work-product protection
04/26/17   N. A. Stockey      1.00 L120     Meet and confer with SEC          370.00
                                            Subpoena team regarding
                                            updates, research
                                            preliminary findings, and
                                            action items
04/26/17   N. A. Stockey      1.50 L120     Research law regarding            555.00
                                            privilege issues and
                                            anticipation of litigation
                                            issues
04/26/17   N. A. Stockey      2.20 L120     Review and analyze                814.00
                                            materials and strategy
                                            memos regarding SEC
                                            subpoena
04/27/17   M. D. M. Bateman   0.90 C200     Research law related to           333.00
                                            securities law
04/27/17   S. A. Bronder      1.70 P280     Conference with team              629.00
                                            regarding securities
04/27/17   S. A. Bronder      0.50 P280     Review emails and case            185.00
                                            law regarding privilege
04/27/17   A. R. Cashman      4.00 L110     Conduct e-mail search on        1,480.00
                                            documents related to
                                            potential security
                                            transactions
04/27/17   A. R. Cashman      1.60 L110     Draft and revise strategy         592.00
                                            memorandum
04/27/17   K. M. Gafner       0.60 C200     Review jurisdiction and           222.00
                                            privilege research
04/27/17   L. A. Gehm         1.90 C200     Research history of               703.00
                                            securities enforcement
                                            actions against a subsidiary
04/27/17   S. E.              0.80 B110     Review backround                  560.00
           Lambrakopoulos                   materials regarding
                                            investigation
04/27/17   R. W. Manoso       4.00 L120     Continue draft of strategy      1,480.00
                                            memorandum sections
                                            pertaining to secondary
                                            liability under securities
                                            laws
04/27/17   S. P. Reger        4.00 C300     Research and draft              1,480.00
                                            memorandum regarding
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DATE       NAME               HRS TASK      DESCRIPTION                    AMOUNT
                                            work-product protection
04/27/17   T. C. Ryan         1.00 L110     Review draft strategy             700.00
                                            memorandum
04/27/17   T. C. Ryan         2.50 L110     Review status and results       1,750.00
                                            of legal research
04/27/17   T. C. Ryan         0.80 L110     Review status of subpoena         560.00
                                            response
04/27/17   N. A. Stockey      1.30 L120     Review, analyze, and              481.00
                                            research law regarding
                                            privilege issues and co-
                                            counsel memorandum and
                                            related materials regarding
                                            SEC subpoena
04/28/17   M. D. M. Bateman   0.40 L120     Draft and revise research e-      148.00
                                            mail related to securities
                                            research
04/28/17   S. A. Bronder      1.20 P280     Non-working travel to and         444.00
                                            from WEC
04/28/17   S. A. Bronder      2.00 P280     Conference with client            740.00
                                            regarding document
                                            collection
04/28/17   S. A. Bronder      3.60 P280     Interview former employee       1,332.00
04/28/17   A. R. Cashman      3.00 L110     Review documents                1,110.00
                                            regarding key transactions
04/28/17   A. R. Cashman      0.90 L110     Update memorandum                 333.00
                                            regarding the key
                                            transactions
04/28/17   S. N. Hastings     0.50 L110     Conference with V.                350.00
                                            Martinez and S.
                                            Lambrakopolous regarding
                                            Deloitte privilege review
04/28/17   S. E.              0.60 B110     Participate in conference         420.00
           Lambrakopoulos                   call with co-counsel
                                            regarding status and
                                            strategy
04/28/17   S. E.              0.40 B110     Follow-up with V. Martinez        280.00
           Lambrakopoulos                   regarding status and
                                            strategy
04/28/17   R. W. Manoso       2.50 L120     Continue draft of strategy        925.00
                                            memorandum sections
04/28/17   V. L. Martinez     1.00 L120     Conference with team              700.00
                                            regarding status of SEC
                                            inquiries and subpoena
                                            response efforts
04/28/17   V. L. Martinez     1.50 L120     Review documents related        1,050.00
                                            to potential security issues
04/28/17   V. L. Martinez     0.50 L120     Address document                  350.00
                                            production issues with
                                            Deloitte counsel
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DATE       NAME               HRS TASK      DESCRIPTION                   AMOUNT
04/28/17   V. L. Martinez     0.30 L120     Correspond with A.              210.00
                                            Cashman and R. Manoso
                                            regarding the status of
                                            research assignments
04/28/17   S. P. Reger        8.00 C300     Draft memorandum               2,960.00
                                            analyzing privilege issues
04/28/17   N. A. Stockey      1.20 L120     Analyze law and legal            444.00
                                            memoranda regarding
                                            securities litigation and
                                            privilege issues
04/30/17   A. R. Cashman      1.10 L120     Draft strategy memo              407.00
04/30/17   R. W. Manoso       1.50 L120     Continue draft of strategy       555.00
                                            memorandum portions
05/01/17   M. D. M. Bateman   1.60 L120     Draft and revise                 592.00
                                            memorandum regarding
                                            securities issues
05/01/17   A. R. Cashman      4.00 L120     Review documents               1,480.00
                                            produced by co-counsel to
                                            the SEC
05/01/17   A. R. Cashman      1.50 L120     Draft strategy                   555.00
                                            memorandum incorporating
                                            documents produced by co-
                                            counsel to the SEC
05/01/17   R. W. Manoso       8.20 L120     Complete draft of strategy     3,034.00
                                            memorandum portions
                                            regarding jurisdiction and
                                            liability application
05/01/17   V. L. Martinez     0.50 L120     Correspond with S.               350.00
                                            Lambrakopoulos and T.
                                            Ryan to coordinate
                                            assignments among the
                                            associates and other team
                                            members
05/01/17   V. L. Martinez     0.60 L120     Meet with S.                     420.00
                                            Lambrakopoulos to provide
                                            background documents on
                                            the case and to discuss the
                                            status of current
                                            assignments and tasks
05/01/17   V. L. Martinez     1.50 L120     Correspond with S. Bronder     1,050.00
                                            regarding witness
                                            interviews and review same
05/01/17   V. L. Martinez     1.90 L120     Review testimony summary       1,330.00
05/01/17   S. P. Reger        7.20 C300     Draft memorandum               2,664.00
                                            analyzing privilege issues
05/01/17   M.L. Thibadeau     1.80 L120     Research application of          666.00
                                            Bankruptcy Rules to SEC
                                            enforcement action
05/02/17   M. D. M. Bateman   5.20 L120     Draft and revise               1,924.00
                                            memorandum regarding
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DATE       NAME               HRS TASK      DESCRIPTION                      AMOUNT
                                            securities issues
05/02/17   A. R. Cashman      6.90 L120     Draft narrative response to       2,553.00
                                            SEC
05/02/17   J. A. Georges      0.20 L140     Respond to A. Cashman                50.00
                                            request regarding Network
                                            Share set-up
05/02/17   R. W. Manoso       3.20 L110     Review factual reports            1,184.00
                                            regarding background in
                                            evaluation of potential
                                            claims, along with review of
                                            underlying key documents
05/02/17   V. L. Martinez     1.00 L120     Conference with co-counsel          700.00
                                            regarding KPMG's privilege
                                            position
05/02/17   V. L. Martinez     1.50 L120     Review KPMG MSA                   1,050.00
05/02/17   V. L. Martinez     4.00 L120     Review memoranda and              2,800.00
                                            research underlying draft
                                            narrative response to SEC
05/02/17   V. L. Martinez     0.60 L120     Revise legal memorandum             420.00
05/02/17   S. P. Reger        1.70 C300     Draft memorandum                    629.00
                                            regarding privilege issues
05/02/17   T. C. Ryan         0.50 L120     Phone conference with co-           350.00
                                            counsel
05/02/17   T. C. Ryan         1.80 L120     Review legal research and         1,260.00
                                            strategy memorandum
05/02/17   M.L. Thibadeau     3.40 L120     Research case law and             1,258.00
                                            prepare draft memorandum
                                            regarding bankruptcy rules
05/03/17   M. D. M. Bateman   0.10 L120     Circulate memorandum                 37.00
                                            regarding securities issues
05/03/17   S. A. Bronder      2.00 P930     Participate in interview            740.00
05/03/17   S. A. Bronder      3.50 P930     Draft memorandum of               1,295.00
                                            interview
05/03/17   S. A. Bronder      0.60 P930     Conference with client              222.00
                                            regarding status of
                                            investigation
05/03/17   A. R. Cashman      2.20 L120     Draft narrative response for        814.00
                                            SEC
05/03/17   A. R. Cashman      2.80 L120     Review documents to               1,036.00
                                            determine chronlogy and
                                            key events
05/03/17   A. R. Cashman      0.50 L120     Conference with V.                  185.00
                                            Martinez regarding strategy
                                            memo and research
05/03/17   A. R. Cashman      0.80 L120     Review privilege                    296.00
                                            memorandum
05/03/17   S. N. Hastings     0.20 L110     Email correspondence with           140.00
                                            counsel for Deloitte and
                                            attention to related privilege
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DATE       NAME               HRS TASK      DESCRIPTION                   AMOUNT
                                            review
05/03/17   S. E.              1.00 B110     Participate in employee          700.00
           Lambrakopoulos                   interview related to
                                            narrative response to SEC
05/03/17   S. E.              1.50 B110     Various emails with team or    1,050.00
           Lambrakopoulos                   Deloitte privilege review,
                                            auditor subpoenas and
                                            related matters
05/03/17   R. W. Manoso       1.50 L120     Continue developing              555.00
                                            understanding of facts
                                            related to narrative
                                            response and evaluate
                                            potential claims
05/03/17   R. W. Manoso       1.30 L120     Revise relevant portions of      481.00
                                            strategic memorandum
05/03/17   V. L. Martinez     4.50 L120     Review and revise strategy     3,150.00
                                            memorandum
05/03/17   V. L. Martinez     1.00 L120     Attend iemployee interview       700.00
                                            of by phone
05/03/17   V. L. Martinez     2.00 L120     Review and revise legal        1,400.00
                                            research memorand drafted
                                            by R. Manoso and M.
                                            Bateman, and discuss
                                            additional research
                                            necessary
05/03/17   S. P. Reger        6.10 C300     Research and draft             2,257.00
                                            memorandum regarding
                                            federal securities
05/03/17   T. C. Ryan         3.00 L110     Conduct preliminary client     2,100.00
                                            interview of accounting
                                            group personnel to gather
                                            location of core documents
                                            responsive to subpoena
                                            and underlying facts
05/03/17   M.L. Thibadeau     4.90 L120     Research case law and          1,813.00
                                            prepare memorandum
                                            regarding application of
                                            bankruptcy rules to SEC
                                            claims
05/04/17   S. A. Bronder      1.10 P280     Draft MOI regarding              407.00
                                            employee interview related
                                            to historic accounting
                                            issues
05/04/17   A. R. Cashman      3.00 L120     Prepare documents for          1,110.00
                                            production
05/04/17   A. R. Cashman      2.30 L120     Prepare draft narrative          851.00
                                            response for SEC
05/04/17   A. R. Cashman      0.50 L120     Edit strategy memo               185.00
05/04/17   A. R. Cashman      0.50 L120     Confer with team regarding       185.00
                                            status
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DATE       NAME               HRS TASK      DESCRIPTION                     AMOUNT
05/04/17   S. E.              2.50 B110     Review privilege matters         1,750.00
           Lambrakopoulos                   relating to Deloitte
                                            subpoena
05/04/17   S. E.              0.50 B110     Conference with S.                 350.00
           Lambrakopoulos                   Hastings regarding privilege
                                            matters
05/04/17   S. E.              2.80 B110     Review memos regarding           1,960.00
           Lambrakopoulos                   privilege materials and
                                            other materials
05/04/17   R. W. Manoso       8.70 L120     Conduct additional               3,219.00
                                            research regarding
                                            potential primary liability
                                            under securities law and
                                            incorporate revisions to
                                            strategy memo
05/04/17   V. L. Martinez     0.50 L120     Conference with auditor            350.00
                                            counsel
05/04/17   V. L. Martinez     4.00 L120     Research SEC                     2,800.00
                                            enforcement history on
                                            similar claims
05/04/17   V. L. Martinez     0.50 L120     Correspond with S.                 350.00
                                            Lambrakopoulos regarding
                                            status of Deloitte production
05/04/17   V. L. Martinez     0.60 L120     Review and revise legal            420.00
                                            research memorandum on
                                            the applicability of certain
                                            federal securities laws
05/04/17   S. P. Reger        5.50 C300     Research and draft               2,035.00
                                            memorandum regarding
                                            federal securities laws
05/04/17   T. C. Ryan         0.50 L110     Status conference with co-         350.00
                                            counsel
05/04/17   T. C. Ryan         3.00 L110     Review and QC documents          2,100.00
                                            for production
05/05/17   M. D. M. Bateman   1.30 L120     Draft and revise                   481.00
                                            memorandum regarding
                                            securities issues
05/05/17   A. R. Cashman      1.80 L110     Review documents and               666.00
                                            draft narrative response for
                                            SEC
05/05/17   A. R. Cashman      1.30 L110     Review documents                   481.00
                                            regarding potential
                                            accounting issue
05/05/17   J. A. Georges      0.10 L140     Draft email communications          25.00
                                            with A. Cashman, e-DAT,
                                            IT regarding Network Share
05/05/17   S. E.              0.60 B110     Participate in telephone call      420.00
           Lambrakopoulos                   with SEC staff, T. Ryan and
                                            co-counsel regardig SEC
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DATE       NAME               HRS TASK      DESCRIPTION                   AMOUNT
                                            investigation
05/05/17   S. E.              0.50 B110     Debrief conference call          350.00
           Lambrakopoulos                   regarding SEC investigation
05/05/17   S. E.              1.90 B110     Review and prepare             1,330.00
           Lambrakopoulos                   privilege redactions for
                                            Deloitte documents
05/05/17   S. E.              0.80 B110     Various emails with              560.00
           Lambrakopoulos                   DeLoitte counsel, S.
                                            Hastings and N. Stockey
                                            regarding privilege
                                            redactions
05/05/17   R. W. Manoso       1.30 L120     Continue review of               481.00
                                            interview memoranda and
                                            documents related to
                                            accounting issues
05/05/17   V. L. Martinez     0.50 L120     Conference with S.               350.00
                                            Lambrakopoulos, T. Ryan
                                            and co-counsel egarding
                                            conversation with SEC staff
                                            and planned steps in
                                            response
05/05/17   S. P. Reger        5.10 C300     Analyze case law and draft     1,887.00
                                            memorandum regarding the
                                            Securities Act
05/05/17   T. C. Ryan         0.50 L120     Conference with co-counsel       350.00
05/05/17   T. C. Ryan         0.40 L120     Conference with SEC staff        280.00
                                            attorney
05/05/17   T. C. Ryan         0.60 L120     Address follow-up issues         420.00
05/05/17   M.L. Thibadeau     0.20 L120     Telephone conference with         74.00
                                            T. Ryan regarding research
                                            on bankruptcy issue
05/06/17   V. L. Martinez     0.40 L120     Review research                  280.00
                                            memorandum on
                                            bankruptcy law
05/06/17   V. L. Martinez     0.30 L120     Correspond with T. Ryan          210.00
                                            regarding the research
                                            memorandum
05/06/17   V. L. Martinez     1.30 L120     Review research on               910.00
                                            potential claims under
                                            securities laws
05/08/17   M. D. M. Bateman   0.20 L120     Draft e-mail distributing         74.00
                                            memorandum on securities
                                            issues
05/08/17   S. A. Bronder      0.50 P280     Conference with A.               185.00
                                            Cashman regarding
                                            production of WEC financial
                                            documents
05/08/17   S. A. Bronder      0.40 P280     Search Ringtail for              148.00
                                            documents
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DATE       NAME               HRS    TASK   DESCRIPTION                    AMOUNT
05/08/17   A. R. Cashman      2.10   L110   Edit strategy memo               777.00
05/08/17   A. R. Cashman      2.50   L110   Prepare production               925.00
05/08/17   A. R. Cashman      1.00   L110   Finalize narrative response      370.00
                                            to the SEC and search for
                                            and review documents for
                                            the same
05/08/17   S. E.              0.50 B110     Review memo regarding             350.00
           Lambrakopoulos                   bankruptcy effect on SEC
                                            claims process
05/08/17   S. E.              1.00 B110     Review various interview          700.00
           Lambrakopoulos                   memos
05/08/17   R. W. Manoso       0.70 L120     Review and revise strategy        259.00
                                            memorandum regarding
                                            potential causes of action
                                            by SEC along with status
                                            update
05/08/17   V. L. Martinez     1.50 L120     Review interview                1,050.00
                                            memoranda regarding
                                            historic accounting
                                            adjustments
05/08/17   V. L. Martinez     1.00 L120     Conduct research on               700.00
                                            provisions of the Securities
                                            Act of 1933
05/08/17   V. L. Martinez     0.50 L120     Correspond with R. Manoso         350.00
                                            and S. Reger on the status
                                            of research on securities
                                            issues
05/08/17   V. L. Martinez     1.00 L120     Review memorandum on              700.00
                                            potential bases of
                                            jurisdiction and potential
                                            causes of action
05/08/17   V. L. Martinez     0.70 L120     Correspond with co-counsel        490.00
                                            regarding status of KPMG
                                            production
05/08/17   V. L. Martinez     0.60 L120     Internal conference on            420.00
                                            comfort order with the SEC
                                            regarding the timing of the
                                            need to make a claim in the
                                            bankruptcy proceeding
05/08/17   V. L. Martinez     2.20 L120     Conduct research on case        1,540.00
                                            law following Janus Capital
                                            Group v. First Derivative
                                            Traders
05/08/17   S. P. Reger        5.50 C300     Analyze case law and draft      2,035.00
                                            memorandum regarding
                                            provisions of federal
                                            securities laws
05/09/17   S. A. Bronder      3.70 P280     Review and revise draft         1,369.00
                                            narrative response to the
                                            SEC
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DATE       NAME               HRS TASK      DESCRIPTION                    AMOUNT
05/09/17   S. A. Bronder      0.50 P280     Exchange emails with T.          185.00
                                            Ryan and V. Martinez
                                            regarding narrative
                                            response to the SEC
05/09/17   A. R. Cashman      0.60 L120     Conference with S. Bronder        222.00
                                            regarding narrative
                                            response to the SEC
05/09/17   A. R. Cashman      0.50 L120     Review documents                  185.00
                                            regarding narrative
                                            response to the SEC
05/09/17   A. R. Cashman      2.50 L120     Edit strategy memo                925.00
05/09/17   S. E.              0.50 B110     Finalize redactions and           350.00
           Lambrakopoulos                   email Deloitte counsel
                                            regarding production to
                                            SEC
05/09/17   R. W. Manoso       6.20 L120     Continue revisions to           2,294.00
                                            strategy memorandum
                                            regarding potential claims,
                                            along with analysis of
                                            potential transactions to be
                                            focus of SEC investigation
05/09/17   V. L. Martinez     2.50 L120     Review and revise legal         1,750.00
                                            research memorandum
                                            regarding whether
                                            negotiations may constitute
                                            an offer under the
                                            Securities Act
05/09/17   V. L. Martinez     1.00 L120     Conduct research to find          700.00
                                            further supporting cases
05/09/17   V. L. Martinez     0.30 L120     Correspond with S. Reger          210.00
                                            regarding supporting cases
05/09/17   V. L. Martinez     1.00 L120     Correspond and hold call          700.00
                                            with co-counsel regarding
                                            negotiations with KPMG
                                            counsel regarding
                                            reviewing and redacting
                                            KPMG materials
05/09/17   V. L. Martinez     2.70 L120     Conduct legal research on       1,890.00
                                            claims under Securities Act
                                            as well as cases following
                                            SEC ruling in Flannery and
                                            Hopkins
05/09/17   S. P. Reger        5.10 C300     Analyze case law and draft      1,887.00
                                            memorandum regarding
                                            federal securities laws for
                                            development of overall
                                            strategy memorandum
05/10/17   S. A. Bronder      0.60 P280     Revise narrative response         222.00
                                            to the SEC
05/10/17   A. R. Cashman      2.50 L110     Prepare narrative response        925.00
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DATE       NAME               HRS TASK      DESCRIPTION                     AMOUNT
                                            to the SEC
05/10/17   S. E.              1.00 B110     Various conferences with V.        700.00
           Lambrakopoulos                   Martinez regarding
                                            investigation
05/10/17   S. E.              0.50 B110     Emails with Deloitte               350.00
           Lambrakopoulos                   counsel regarding
                                            production
05/10/17   S. E.              1.30 B110     Review memos by                    910.00
           Lambrakopoulos                   associates on legal issues
05/10/17   R. W. Manoso       4.60 L120     Revise memorandum                1,702.00
                                            regarding potential claims,
                                            along with additional
                                            research on conduct and
                                            effects test for determining
                                            jurisdiction
05/10/17   V. L. Martinez     0.40 L120     Correspond with KPMG               280.00
                                            counsel about redactions in
                                            Relativity database
05/10/17   V. L. Martinez     0.40 L120     Task S. Reger with creating        280.00
                                            a timeline of relevant
                                            transactions,
                                            announcements and public
                                            filings
05/10/17   V. L. Martinez     0.30 L120     Request certain documents          210.00
                                            from S. Bronder
05/10/17   V. L. Martinez     1.50 L120     Revise legal research            1,050.00
                                            memorandum regarding
                                            potential means for
                                            establishing jurisdiction
05/10/17   V. L. Martinez     1.40 L120     Meet with R. Manoso to go          980.00
                                            over edits and remaining
                                            questions
05/10/17   S. P. Reger        1.00 C300     Finalize memorandum                370.00
                                            regarding possible SEC
                                            jurisdictional bases
05/10/17   S. P. Reger        3.50 C300     Draft timeline of events         1,295.00
                                            leading to possible SEC
                                            jurisdictional bases
05/10/17   N. A. Stockey      0.40 L120     Update redactions and              148.00
                                            finalize letters for Deloitte
                                            per S. Lambrakopoulos
05/11/17   S. A. Bronder      0.60 P280     Revise draft letter to SEC         222.00
05/11/17   A. R. Cashman      2.00 L120     Review documents related           740.00
                                            to narrative response to
                                            SEC
05/11/17   A. R. Cashman      0.30 L120     Conference with T. Ryan            111.00
                                            regarding status
05/11/17   A. R. Cashman      0.50 L120     Draft chronology regarding         185.00
                                            historic accounting issues
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DATE       NAME               HRS TASK      DESCRIPTION                     AMOUNT
05/11/17   A. R. Cashman      2.60 L120     Edit strategy memo                 962.00
05/11/17   R. W. Manoso       4.20 L120     Finalize memorandum              1,554.00
                                            regarding potential claims
05/11/17   V. L. Martinez     0.40 L120     Conference with T. Ryan to         280.00
                                            update him on progress of
                                            legal research assignments
                                            and discussions with
                                            counsel for KPMG
05/11/17   V. L. Martinez     0.40 L120     Ccorrespond with A.                280.00
                                            Cashman regarding how to
                                            write cover letters for
                                            production to the SEC
05/11/17   V. L. Martinez     0.50 L120     Correspond with S. Bronder         350.00
                                            regarding narrative
                                            response
05/11/17   V. L. Martinez     2.10 L120     Review and revise narrative      1,470.00
                                            response
05/11/17   V. L. Martinez     1.70 L120     Review legal research            1,190.00
                                            memorandum regarding the
                                            potential equity offer
05/11/17   V. L. Martinez     0.40 L120     Correspond with KPMG               280.00
                                            counsel regarding
                                            redactions in the KPMG
                                            Relativity system
05/11/17   S. P. Reger        1.00 C300     Draft timeline of key events       370.00
                                            leading to potential SEC
                                            jurisdiction
05/11/17   S. P. Reger        4.20 C300     Review and analyze               1,554.00
                                            Toshiba Article 26 report for
                                            memorandum of relevant
                                            Westinghouse statements
05/11/17   T. C. Ryan         1.30 L110     Conference with WEC                910.00
                                            Accounting Staff regarding
                                            FY2013 accounting issues
05/12/17   A. R. Cashman      5.00 L120     Prepare for and interview        1,850.00
                                            employee regarding Project
                                            G accounting
05/12/17   A. R. Cashman      1.30 L120     Discuss strategy with T.           481.00
                                            Ryan
05/12/17   S. E.              2.50 B110     Review Article 26 memo           1,750.00
           Lambrakopoulos                   and excerpts
05/12/17   R. W. Manoso       0.40 L120     Finalize memorandum                148.00
                                            regarding potential SEC
                                            claims and update master
                                            memorandum regarding
                                            strategies for subpoena
                                            response
05/12/17   V. L. Martinez     3.30 L120     Finalize legal research          2,310.00
                                            memorandum on potential
                                            bases of jurisdiction and
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DATE       NAME               HRS TASK      DESCRIPTION                     AMOUNT
                                            causes of action and send
                                            same to the team for
                                            inclusion in the strategy
                                            memo
05/12/17   V. L. Martinez     0.50 L120     Review S. Reger’s                  350.00
                                            summary of the Article 26
                                            report
05/12/17   V. L. Martinez     0.50 L120     Correspond with S. Bronder         350.00
                                            and A. Cashman about
                                            integrating a point from the
                                            Article 26 report
05/12/17   V. L. Martinez     0.70 L120     Hold weekly call with co-          490.00
                                            counsel
05/12/17   V. L. Martinez     0.50 L120     Correspond with T. Ryan            350.00
                                            regarding the timing of the
                                            narrative response to the
                                            SEC
05/12/17   S. P. Reger        2.10 C300     Draft production index for         777.00
                                            SEC production on May 10,
                                            2017
05/13/17   V. L. Martinez     0.50 L120     Review revised narrative           350.00
                                            response to the SEC
05/13/17   V. L. Martinez     0.50 L120     Correspond with A.                 350.00
                                            Cashman to answer
                                            questions raised in the draft
05/13/17   V. L. Martinez     0.40 L120     Correspond with co-counsel         280.00
                                            regarding questions raised
                                            in the draft
05/15/17   A. R. Cashman      0.70 L110     Confer encewith T. Ryan            259.00
                                            regarding narrative
                                            response to the SEC
05/15/17   A. R. Cashman      1.00 L110     Review memo regarding              370.00
                                            SEC jurisdiction
05/15/17   S. E.              0.70 B110     Confer encewith V.                 490.00
           Lambrakopoulos                   Martinez regarding
                                            narratives for SEC
05/15/17   S. E.              0.50 B110     Emails with Deloitte               350.00
           Lambrakopoulos                   counsel regarding
                                            production to SEC
05/15/17   S. E.              1.00 B110     Review Article 26 report           700.00
           Lambrakopoulos                   and materials related to
                                            narrative response
05/15/17   R. W. Manoso       0.50 L110     Attend call regarding              185.00
                                            treatment of historic
                                            accounting issues with
                                            WEC accounting group
                                            employee, along with
                                            review of spreadsheets
                                            showing accounting
                                            treatment
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DATE       NAME                  HRS TASK      DESCRIPTION                   AMOUNT
05/15/17   V. L. Martinez        2.60 L120     Conference with co-counsel     1,820.00
                                               regarding status of SEC
                                               investigation and narrative
                                               response
05/15/17   V. L. Martinez        1.00 L120     Conference with employee         700.00
                                               to discuss factual
                                               background on journal
                                               entries related to historic
                                               accounting issue
05/15/17   V. L. Martinez        1.50 L120     Review and revise draft        1,050.00
                                               narrative response
05/15/17   V. L. Martinez        0.70 L120     Hold call with T. Ryan           490.00
                                               regarding the narrative
                                               response
05/15/17   T. C. Ryan            0.70 L120     Review documents                 490.00
                                               supporting narrative
                                               response
05/15/17   T. C. Ryan            2.20 L120     Draft and revise narrative     1,540.00
                                               response
05/15/17   T. C. Ryan            0.70 L120     Conference with co-counsel       490.00
                                               regarding narrative
                                               response
05/16/17   A. R. Cashman         0.50 L110     Confer with T. Ryan              185.00
                                               regarding narrative
                                               response
05/16/17   A. R. Cashman         0.20 L110     Edit narrative response           74.00
05/16/17   S. E.                 1.20 B110     Review materials and             840.00
           Lambrakopoulos                      review and revise draft
                                               narrative to SEC
05/16/17   V. L. Martinez        0.40 L120     Hold call with T. Ryan           280.00
                                               regarding narrative
                                               response to the SEC
05/16/17   V. L. Martinez        1.20 L120     Read background                  840.00
                                               documents and compare to
                                               draft
05/16/17   N. A. Stockey         0.70 L120     Review and analyze SEC           259.00
                                               potential claims
                                               memorandum and research
                                               issues
05/17/17   A. R. Cashman         1.20 L110     Edit narrative response to       444.00
                                               the SEC
05/17/17   J. A. Georges         0.10 L660     Respond to T. Ryan                25.00
                                               request regarding
                                               document issues
05/17/17   S. E.                 0.70 B110     Conference call with T.          490.00
           Lambrakopoulos                      Ryan, V. Martinez and co-
                                               counsel regarding narrative
                                               for SEC
05/17/17   S. E.                 0.80 B110     Provide comments                 560.00
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DATE       NAME               HRS TASK      DESCRIPTION                    AMOUNT
           Lambrakopoulos                   regarding conference call
                                            with co-counsel
05/17/17   S. E.              1.00 B110     Review interview memos in         700.00
           Lambrakopoulos                   preparation for potential
                                            SEC testimony
05/17/17   V. L. Martinez     0.70 L120     Conference with S.                490.00
                                            Lambrakopoulos, T. Ryan
                                            and co-counsel regarding
                                            edits to narrative letter
05/17/17   V. L. Martinez     1.20 L120     Review and reconcile co-          840.00
                                            counsel's and client edits
05/17/17   V. L. Martinez     1.10 L120     Review documents on               770.00
                                            financial accounting issues
05/17/17   T. C. Ryan         0.40 L120     Revise draft letter               280.00
05/17/17   T. C. Ryan         0.50 L120     Conference with co-counsel        350.00
                                            regarding letter
05/17/17   T. C. Ryan         0.30 L120     Circulate to client               210.00
05/17/17   T. C. Ryan         0.30 L120     Review comments                   210.00
05/18/17   A. R. Cashman      1.00 L110     Edit narrative response to        370.00
                                            the SEC
05/18/17   A. R. Cashman      0.60 L110     Review documents                  222.00
                                            regarding narrative
                                            response to the SEC
05/18/17   S. E.              0.70 B110     Telephone call with Deloitte      490.00
           Lambrakopoulos                   counsel regarding Deloitte
                                            subpoena
05/18/17   S. E.              0.50 B110     Review and revise related         350.00
           Lambrakopoulos                   search terms
05/18/17   S. E.              0.60 B110     Review charges/comments           420.00
           Lambrakopoulos                   to SEC narrative
05/18/17   V. L. Martinez     0.30 L120     Correspond with T. Ryan           210.00
                                            regarding edits to narrative
05/18/17   V. L. Martinez     0.20 L120     Review correspondence             140.00
                                            regarding accounting
                                            adjustments
05/19/17   A. R. Cashman      1.60 L110     Edit narrative response to        592.00
                                            the SEC
05/19/17   S. E.              0.40 B110     Review revised letter to          280.00
           Lambrakopoulos                   SEC and related
                                            background materials
05/19/17   S. E.              0.40 B110     Emails with team regarding        280.00
           Lambrakopoulos                   background materials
05/19/17   S. E.              0.70 B110     Emails with Deloitte              490.00
           Lambrakopoulos                   counsel regarding review of
                                            documents for SEC
                                            subpoena
05/19/17   V. L. Martinez     1.50 L120     Conference with KLG team        1,050.00
                                            and co-counsel regarding
                                            redactions to certain
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DATE       NAME               HRS TASK      DESCRIPTION                   AMOUNT
                                            exhibits to be provided to
                                            the SEC
05/19/17   T. C. Ryan         0.50 L110     Conference with client           350.00
                                            regarding draft letter
05/19/17   T. C. Ryan         1.00 L110     Revise letter                    700.00
05/19/17   T. C. Ryan         1.50 L110     Conference with co-counsel     1,050.00
                                            regarding privilege issues
05/19/17   T. C. Ryan         1.00 L110     Incorporate same into            700.00
                                            exhibits
05/19/17   T. C. Ryan         0.20 L110     Finalize letter                  140.00
05/22/17   S. A. Bronder      0.60 P280     Conference with T. Ryan          222.00
                                            and A. Cashman regarding
                                            next steps
05/22/17   A. R. Cashman      0.60 L110     Conference regarding             222.00
                                            status with T. Ryan and S.
                                            Bronder
05/22/17   A. R. Cashman      1.00 L110     Edit strategy memo               370.00
05/22/17   A. R. Cashman      0.50 L110     Prepare documents for            185.00
                                            production
05/22/17   A. R. Cashman      1.60 L110     Review financial accounting      592.00
                                            documents
05/22/17   S. E.              0.40 B110     Conference with V.               280.00
           Lambrakopoulos                   Martinez regarding Deloitte
                                            and KPMG subpoenas
05/22/17   S. E.              0.60 B110     Various emails with team         420.00
           Lambrakopoulos                   regarding subpoenas and
                                            regarding SEC requests
05/22/17   V. L. Martinez     0.50 L120     Correspond with co-counsel       350.00
                                            regarding KPMG
                                            confidentiality agreement
05/22/17   V. L. Martinez     0.40 L120     Correspond with T. Ryan          280.00
                                            and hold call with A.
                                            Cashman regarding drafting
                                            a FOIA confidentiality
                                            request letter to accompany
                                            last Friday’s production
05/22/17   V. L. Martinez     1.00 L120     Review background                700.00
                                            documents regarding
                                            accounting testing by
                                            Deloitte and financial
                                            reporting by Westinghouse
05/22/17   V. L. Martinez     0.60 L120     Meet with S.                     420.00
                                            Lambrakopoulos to discuss
                                            search terms for documents
                                            to be provided to Deloitte
                                            counsel
05/23/17   S. A. Bronder      0.30 P280     Review emails from V.            111.00
                                            Martinez and exchange
                                            emails with S.
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DATE       NAME               HRS TASK      DESCRIPTION                     AMOUNT
                                            Lampbrakopoulos
                                            regarding privilege search
                                            terms for Deloitte subpoena
                                            response
05/23/17   A. R. Cashman      2.90 L110     Review documents and             1,073.00
                                            draft second narrative
05/23/17   V. L. Martinez     0.20 L120     Review FOIA request letter         140.00
                                            drafted by A. Cashman
05/23/17   V. L. Martinez     0.40 L120     Edit list of search terms          280.00
                                            provided by Deloitte
                                            counsel for work products
                                            on certain Deloitte
                                            engagements
05/23/17   T. C. Ryan         1.60 L110     Review, organize and             1,120.00
                                            outline second narrative
                                            response to SEC
05/24/17   V. L. Martinez     0.40 L120     Hold call with T. Ryan             280.00
                                            regarding status of SEC
                                            investigation, plans for
                                            further presentations, and
                                            how to memorialize
                                            approach to the case
05/25/17   A. R. Cashman      0.60 L110     Prepare tracking chart             222.00
05/25/17   A. R. Cashman      1.00 L110     Edit second narrative              370.00
                                            response
05/25/17   V. L. Martinez     0.70 L120     Hold call with KPMG                490.00
                                            counsel regarding KPMG
                                            document review
                                            agreement
05/25/17   V. L. Martinez     0.40 L120     Hold calls with T. Ryan and        280.00
                                            client regarding certain
                                            clauses in document review
                                            agreement to secure
                                            approval from the client
05/25/17   V. L. Martinez     0.40 L120     Hold call with T. Ryan             280.00
                                            regarding how to respond
                                            to call from SEC staff
05/25/17   V. L. Martinez     0.40 L120     Correspond with KPMG               280.00
                                            counsel regarding call from
                                            SEC staff
05/25/17   V. L. Martinez     1.10 L120     Begin to review and revise         770.00
                                            jurisdiction section of legal
                                            research memo in response
                                            to call from T. Ryan
05/26/17   V. L. Martinez     2.20 L120     Draft memorandum                 1,540.00
                                            regarding potential SEC
                                            bases of enforcement and
                                            responsive defense
                                            strategies
05/26/17   V. L. Martinez     0.50 L120     Discuss terms of KPMG              350.00
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DATE       NAME               HRS TASK      DESCRIPTION                     AMOUNT
                                            confidentiality agreement
                                            with co-counsel
05/26/17   V. L. Martinez     0.70 L120     Hold call with T. Ryan to          490.00
                                            discuss call received from
                                            SEC
05/29/17   V. L. Martinez     1.70 L120     Draft memorandum                 1,190.00
                                            regarding potential SEC
                                            bases of enforcement and
                                            responsive defense
                                            strategies
05/30/17   S. A. Bronder      1.00 P280     Draft email regarding              370.00
                                            search terms to identify
                                            privileged Deloitte docs
05/30/17   S. A. Bronder      0.30 P280     Confer with T. Ryan and A.         111.00
                                            Cashman regarding status
                                            and next steps
05/30/17   A. R. Cashman      0.30 L120     Meet with T. Ryan and S.           111.00
                                            Bronder regarding status
05/30/17   A. R. Cashman      0.10 L120     Edit search terms for               37.00
                                            Deloitte privilege review
05/30/17   S. E.              0.60 B110     Various emails with T. Ryan        420.00
           Lambrakopoulos                   and V. Martinez regarding
                                            SEC request for testimony
                                            and witness representation
05/30/17   S. E.              0.20 B110     Emails with S. Broder              140.00
           Lambrakopoulos                   regarding Deloitte
                                            document review search
                                            terms
05/30/17   R. W. Manoso       5.50 C200     Research regarding               2,035.00
                                            evaluation of potential
                                            claims from SEC
05/30/17   V. L. Martinez     1.60 L120     Draft memorandum                 1,120.00
                                            regarding defense
                                            strategies given the state of
                                            the law
05/30/17   V. L. Martinez     0.40 L120     Hold call with co-counsel          280.00
                                            regarding KPMG
                                            confidentiality agreement
05/30/17   V. L. Martinez     1.00 L120     Call T. Ryan to discuss            700.00
                                            SEC request for witnesses,
                                            and SEC knowledge of
                                            certain transactions
05/30/17   V. L. Martinez     3.00 L120     Write up email for T. Ryan       2,100.00
                                            on SEC rules regarding
                                            counsel attendance at
                                            testimony
05/30/17   T. C. Ryan         0.50 L120     Address representation             350.00
                                            issues
05/31/17   A. R. Cashman      2.10 L110     Draft second narrative             777.00
                                            response to SEC
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DATE       NAME                 HRS TASK       DESCRIPTION                      AMOUNT
05/31/17   S. E.                0.70 B110      Conference call with T.            490.00
           Lambrakopoulos                      Ryan, V. Martinez, client
                                               and co-counsel regarding
                                               SEC staff questions on
                                               individual witnesses
05/31/17   S. E.                 0.70 B110     Various conferences and            490.00
           Lambrakopoulos                      emails with V. Martinez and
                                               T. Ryan regarding SEC
                                               staff questions
05/31/17   S. E.                 0.50 B110     Review potential search            350.00
           Lambrakopoulos                      terms for Deloitte subpoena
05/31/17   V. L. Martinez        3.70 L120     Draft memorandum                  2,590.00
                                               outlining subpoena
                                               response and defense
                                               strategies given the
                                               uncertain state of the law
05/31/17   V. L. Martinez        0.50 L120     Hold call regarding                350.00
                                               responding to SEC's
                                               request to interview certain
                                               witnesses and seek email
                                               review
05/31/17   V. L. Martinez        1.00 L120     Hold call with co-counsel          700.00
                                               retention of pool counsel
05/31/17   V. L. Martinez        2.00 L120     Review and provide                1,400.00
                                               comments on second
                                               narrative response
                            TOTAL FEES           736.20 hrs                $   371,340.00
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                              TIMEKEEPER SUMMARY

M. D. M. Bateman                23.80   hrs at    $    370.00   / hr          8,806.00
S. A. Bronder                   34.60   hrs at    $    370.00   / hr         12,802.00
A. R. Cashman                  108.50   hrs at    $    370.00   / hr         40,145.00
L. A. Diersen                    1.20   hrs at    $    200.00   / hr            240.00
K. M. Gafner                     4.90   hrs at    $    370.00   / hr          1,813.00
L. A. Gehm                       8.90   hrs at    $    370.00   / hr          3,293.00
J. A. Georges                    0.40   hrs at    $    250.00   / hr            100.00
S. N. Hastings                  19.80   hrs at    $    700.00   / hr         13,860.00
R. W. Hosking                    3.40   hrs at    $    700.00   / hr          2,380.00
S. E. Lambrakopoulos            34.80   hrs at    $    700.00   / hr         24,360.00
R. W. Manoso                    81.80   hrs at    $    370.00   / hr         30,266.00
V. L. Martinez                 196.40   hrs at    $    700.00   / hr        137,480.00
J. D. Morrison                   7.00   hrs at    $    370.00   / hr          2,590.00
S. P. Reger                     89.90   hrs at    $    370.00   / hr         33,263.00
T. C. Ryan                      46.20   hrs at    $    700.00   / hr         32,340.00
N. A. Stockey                   46.30   hrs at    $    370.00   / hr         17,131.00
M.L. Thibadeau                  28.30   hrs at    $    370.00   / hr         10,471.00
                       TOTAL FEES                736.20 hrs             $   371,340.00
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                             TASK CODE SUMMARY

B110    Case Administration                   34.80   hrs                24,360.00
C200    Researching Law                       38.90   hrs                14,393.00
C300    Analysis and Advice                   71.70   hrs                26,727.00
L110    Fact Investigation/Development       107.90   hrs                57,083.00
L120    Analysis/Strategy                    436.40   hrs               231,494.00
L140    Document/File Management               1.50   hrs                   315.00
L190    Other Case Assessment, Development     9.00   hrs                 3,660.00
        and
L650    eDiscovery Review                      1.30   hrs                   481.00
L660    eDiscovery Analysis                    0.10   hrs                    25.00
P280    Other                                 26.50   hrs                 9,805.00
P930    Other                                  8.10   hrs                 2,997.00
                          TOTAL FEES         736.20   hrs         $     371,340.00


                      DISBURSEMENTS & OTHER CHARGES

DESCRIPTION                                                              AMOUNT
Copying Expense                                                              44.10
Lexis Research                                                              477.75
Litigation Support Charges - Ringtail                                       446.77
Long Distance Courier                                                        55.05
Conference Room Rental - Marriott Pittsburgh                                577.17
Pacer Research                                                               60.60
Telephone / Conference Calls / Fx Line Trans                                 21.29
Travel Expenses: Hotel                                                      577.98
Travel Expenses: Parking                                                     96.00
Travel Expenses: Mileage                                                     27.82
Travel Expenses: Tolls                                                       28.20
Travel Expenses: Gasoline                                                    29.10
Travel Expenses: Meals                                                       32.06
Westlaw Research                                                          3,430.87
                            DISBURSEMENTS & OTHER CHARGES         $       5,904.76
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                                K&L GATES LLP
                                K&L GATES CENTER
                                210 SIXTH AVENUE
                                PITTSBURGH, PA 15222-2613
                                T +1 412 355 6500 F +1 412 355 6501 klgates.com
                                Tax ID No. 25 0921018




Westinghouse Electric Co. LLC                                                         Invoice Date                          :      July 24, 2017
1000 Westinghouse Drive                                                               Invoice Number                        :      3410074
Cranberry Township, PA 16066                                                          Services Through                      :      June 30, 2017




  0236915.00030          Subpoena Response


                                                          INVOICE SUMMARY

Fees                                                                                                                                      $       147,758.00
Disbursements and Other Charges                                                                                                           $         1,491.17

CURRENT INVOICE DUE                                                                                                                       $       149,249.17




                                                               Due and Payable upon Receipt
           Mail: K&L Gates LLP, K&L Gates Center – RCAC, 210 Sixth Ave, Pittsburgh, PA 15222
           Wire Transfer Instructions: Receiving Bank: The Bank of New York Mellon, 500 Ross Street, Pittsburgh, PA 15262
                                       BIC Code: IRVTUS3N
                                       ABA: 043000261
                                       Beneficiary: K&L Gates LLP AIS Account
                                       Acct No.: 127-2657
                                     When initiating a wire transfer/ACH, please reference client/matter number on wire information and please send
                                     notification to RCAC_East@klgates.com with details including dollar amount, date and client/matter/invoice number(s).
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                                      FEES

DATE       NAME               HRS TASK       DESCRIPTION                   AMOUNT
06/01/17   A. R. Cashman      0.20 L110      Review V. Martinez edits to     74.00
                                             goodwill narrative
06/01/17   S. E.              0.70 B110      Conference with T. Ryan          490.00
           Lambrakopoulos                    regarding former employee
                                             interview and next steps
06/01/17   S. E.              0.30 B110      Review emails relating to        210.00
           Lambrakopoulos                    third party subpoenas
06/01/17   V. L. Martinez     0.80 L120      Draft memorandum                 560.00
                                             outlining subpoena
                                             response and defense
                                             strategies given the
                                             uncertain state of the law
06/01/17   V. L. Martinez     0.70 L120      Discuss the same with T.         490.00
                                             Ryan and subpoena
                                             response strategies
06/02/17   A. R. Cashman      0.60 L110      Conference with V.               222.00
                                             Martinez regarding goodwill
                                             impairment
06/02/17   A. R. Cashman      0.90 L110      Edit narrative                   333.00
06/02/17   V. L. Martinez     0.60 L120      Conference with A.               420.00
                                             Cashman to discuss draft
                                             goodwill impairment
                                             narrative response and
                                             establish tasks for
                                             completion
06/02/17   V. L. Martinez     0.60 L120      Draft email regarding            420.00
                                             discussion with KPMG
                                             counsel
06/02/17   V. L. Martinez     0.50 L120      Conference with co-counsel       350.00
                                             to discuss updates on
                                             subpoena response effort
06/02/17   V. L. Martinez     0.30 L120      Draft email to T. Ryan           210.00
                                             regarding the same
06/02/17   V. L. Martinez     0.40 L120      Correspond with KPMG             280.00
                                             counsel regarding review of
                                             engagement letters
06/02/17   V. L. Martinez     0.40 L120      Correspond with R. Manoso        280.00
                                             to help provide information
                                             to complete the former
                                             employee interview
                                             memorandum
06/02/17   V. L. Martinez     1.50 L120      Review accounting              1,050.00
                                             literature on goodwill
                                             impairment calculation
                                             procedures
06/02/17   V. L. Martinez     0.50 L120      Review WEC white paper           350.00
                                             regarding the same
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DATE       NAME               HRS TASK      DESCRIPTION                   AMOUNT
06/02/17   V. L. Martinez     0.70 L120     Review and revise               490.00
                                            memorandum of interview
06/05/17   S. E.              0.80 B110     Conferencewith V. Martinez       560.00
           Lambrakopoulos                   regarding input from Weil
                                            on SEC subpoena and
                                            potential witness testimony
06/05/17   R. W. Manoso       0.80 L120     Conference with team             296.00
                                            regarding new subpoena
                                            and status of SEC
                                            investigation/focus of
                                            inquiry
06/05/17   V. L. Martinez     1.00 L120     Conference with co-counsel       700.00
                                            regarding the status of the
                                            SEC case and approaches
                                            for responding to the new
                                            subpoena
06/05/17   V. L. Martinez     0.40 L120     Conference with T. Ryan          280.00
                                            regarding strategy for new
                                            subpoena
06/05/17   V. L. Martinez     4.50 L120     Redact KPMG engagement         3,150.00
                                            letters and statements of
                                            work
06/05/17   V. L. Martinez     0.50 L120     Correspond with co-counsel       350.00
                                            and KPMG counsel
                                            regarding same
06/06/17   A. R. Cashman      0.20 L120     Correspond with V.                 74.00
                                            Martinez regarding status
06/06/17   S. E.              1.10 B110     Review proposed search           770.00
           Lambrakopoulos                   terms for Deloitte document
                                            review
06/06/17   S. E.              0.40 B110     Emails regarding strategy        280.00
           Lambrakopoulos                   and status of investigation
06/06/17   V. L. Martinez     3.30 L120     Review and redact KPMG         2,310.00
                                            letters
06/06/17   V. L. Martinez     0.40 L120     Correspond with co-counsel       280.00
                                            and KPMG counsel
                                            regarding same
06/06/17   V. L. Martinez     0.50 L120     Conduct research regarding       350.00
                                            WEC’s goodwill impairment
                                            adjustments
06/06/17   V. L. Martinez     0.50 L120     Correspond with A.               350.00
                                            Cashman regarding
                                            goodwill impairment
                                            narrative and auditor
                                            meeting
06/06/17   V. L. Martinez     0.80 L120     Conduct research on              560.00
                                            caselaw defining domestic
                                            transactions for strategy
                                            memorandum
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DATE       NAME               HRS TASK      DESCRIPTION                    AMOUNT
06/07/17   V. L. Martinez     0.70 L120     Finish review of KPMG            490.00
                                            engagement letters
06/07/17   V. L. Martinez     0.40 L120     Conference with co-counsel        280.00
                                            regarding engagement
                                            letters
06/07/17   V. L. Martinez     0.40 L120     Conference with T. Ryan           280.00
                                            regarding KPMG
                                            engagement letters
06/07/17   V. L. Martinez     3.30 L120     Conduct and send T. Ryan        2,310.00
                                            research venue for SEC
                                            subpoena enforcement
                                            actions and caselaw
                                            regarding the reach of the
                                            SEC’s subpoena and
                                            subpoena enforcement
                                            powers
06/07/17   V. L. Martinez     0.70 L120     Review documentation              490.00
                                            underlying the Shaw put,
                                            including disclosures to the
                                            SEC and the put and
                                            investment agreements
06/07/17   V. L. Martinez     1.20 L120     Conduct case research on          840.00
                                            tests to determine the
                                            location of purchases and
                                            sales for determining
                                            whether a transaction is
                                            domestic
06/08/17   V. L. Martinez     0.40 L120     Correspond with T. Ryan           280.00
                                            regarding request from
                                            auditor
06/08/17   V. L. Martinez     1.00 L120     Review Deloitte goodwill          700.00
                                            impairment work product to
                                            build the SEC narrative
                                            response
06/08/17   V. L. Martinez     2.90 L120     Conduct research regarding      2,030.00
                                            case law on how to
                                            determine whether offers
                                            and transactions are
                                            deemed domestic
06/08/17   V. L. Martinez     0.50 L120     Review documentation for          350.00
                                            the Shaw put agreements
06/08/17   V. L. Martinez     0.70 L120     Draft investigation strategy      490.00
                                            memorandum
06/09/17   S. A. Bronder      0.70 P280     Conference with team              259.00
                                            regarding status and next
                                            steps
06/09/17   A. R. Cashman      0.80 L120     Conference call with co-          296.00
                                            counsel regarding status
06/09/17   S. E.              0.80 B110     Conference with co-counsel        560.00
           Lambrakopoulos                   regarding SEC investigation
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DATE       NAME               HRS TASK      DESCRIPTION                    AMOUNT
06/09/17   S. E.              1.20 B110     Review documents in              840.00
           Lambrakopoulos                   connection with Deloitte
                                            subpoena
06/09/17   S. E.              0.80 B110     Emails with Deloitte              560.00
           Lambrakopoulos                   counsel regarding
                                            subpoena
06/09/17   V. L. Martinez     1.00 L120     Conference with co-counsel        700.00
                                            regarding subpoena
                                            response strategies
06/09/17   V. L. Martinez     0.50 L120     Fold follow up call with T.       350.00
                                            Ryan regarding subpoena
                                            response strategies
06/09/17   V. L. Martinez     0.40 L120     Correspond with A.                280.00
                                            Cashman regarding the
                                            goodwill impairment
                                            narrative response
06/09/17   V. L. Martinez     1.00 L120     Begin to review WEC ETC           700.00
                                            variance white paper and
                                            responses to auditor
06/09/17   V. L. Martinez     2.00 L120     Continue to draft               1,400.00
                                            investigation strategy
                                            memorandum
06/09/17   V. L. Martinez     0.10 L120     Correspond with J. Pahl of          70.00
                                            Williams & Connolly
                                            regarding KPMG
                                            engagement letters
06/09/17   T. C. Ryan         0.40 L120     Coordinate response to            280.00
                                            subpoena
06/09/17   T. C. Ryan         0.20 L120     Review search terms               140.00
06/09/17   T. C. Ryan         0.70 L120     Review and comment on             490.00
                                            draft narrative response
06/09/17   T. C. Ryan         0.40 L120     Coordination call with co-        280.00
                                            counsel
06/09/17   T. C. Ryan         1.00 L120     Address representation            700.00
                                            issues
06/12/17   V. L. Martinez     1.30 L120     Read ETC variance white           910.00
                                            paper and white paper
                                            responding to PwC
                                            questions
06/12/17   V. L. Martinez     0.50 L120     Hold call with T. Ryan            350.00
                                            regarding status of
                                            subpoena response efforts
06/12/17   V. L. Martinez     3.00 L120     Draft defense strategy          2,100.00
                                            memorandum
06/12/17   T. C. Ryan         2.40 L110     Review scope of subpoena,       1,680.00
                                            current litigation hold list
                                            and coordinate collection of
                                            responsive e-mail with in-
                                            house IT staff
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DATE       NAME               HRS TASK      DESCRIPTION                     AMOUNT
06/12/17   T. C. Ryan         1.10 L110     Review draft SEC narrative        770.00
                                            and coordinate comments
                                            from client
06/12/17   D. L. Stecko       0.60 L620     Review subpoena and data           150.00
                                            delivery standards per T.
                                            Ryan request and
                                            correspond with T. Ryan
                                            and E. McAnallen regarding
                                            ESI collection specifications
06/13/17   V. L. Martinez     0.70 L120     Read acquisition                   490.00
                                            accounting white paper
06/13/17   V. L. Martinez     0.40 L120     Finish investigation strategy      280.00
                                            memorandum and send to
                                            T. Ryan
06/13/17   V. L. Martinez     6.80 L120     Review and revise goodwill       4,760.00
                                            impairment narrative
                                            response
06/14/17   S. E.              0.80 B110     Review research memo               560.00
           Lambrakopoulos                   regarding jurisdictional
                                            issues
06/14/17   S. E.              1.20 B110     Work on Deloitte subpoena          840.00
           Lambrakopoulos                   matters
06/14/17   V. L. Martinez     0.50 L120     Read Deloitte goodwill             350.00
                                            impairment reports
06/14/17   V. L. Martinez     1.00 L120     Hold call with client              700.00
                                            regarding goodwill
                                            impairment procedure and
                                            history of interim goodwill
                                            impairment tests
06/14/17   V. L. Martinez     7.20 L120     Draft goodwill impairment        5,040.00
                                            narrative response for the
                                            SEC
06/15/17   S. A. Bronder      0.30 P280     Confer with S.                     111.00
                                            Lambrakopoulos regarding
                                            search terms
06/15/17   S. E.              0.40 B110     Telephone call with S.             280.00
           Lambrakopoulos                   Bronder regarding Deloitte
                                            subpoena response
06/15/17   S. E.              0.80 B110     Review related questions           560.00
           Lambrakopoulos
06/15/17   V. L. Martinez     0.40 L120     Review correspondence              280.00
                                            with T. Ryan, S. Bronder,
                                            and A. Cashman regarding
                                            background material for
                                            goodwill impairment
                                            narrative
06/15/17   V. L. Martinez     0.30 L120     Correspond with attorneys          210.00
                                            from White & Case and
                                            Williams & Connolly
                                            regarding KPMG
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DATE       NAME               HRS TASK      DESCRIPTION                     AMOUNT
                                            engagement letters
06/15/17   V. L. Martinez     0.50 L120     Draft slides on the nature of      350.00
                                            the SEC investigation for
                                            next week’s WEC audit
                                            committee meeting
06/15/17   V. L. Martinez     0.20 L120     Hold call with T. Ryan             140.00
                                            regarding the same
06/15/17   V. L. Martinez     4.80 L120     Draft goodwill impairment        3,360.00
                                            narrative
06/16/17   V. L. Martinez     0.40 L120     Correspond with T. Ryan            280.00
                                            regarding basic information
                                            (including timing, signatory,
                                            and objective statements)
                                            of the three Bluefin
                                            engagement letters
06/16/17   V. L. Martinez     0.20 L120     Review correspondence              140.00
                                            with T. Ryan and client
                                            regarding last remaining
                                            KPMG engagement letters
06/16/17   V. L. Martinez     0.30 L120     Make redaction changes to          210.00
                                            same engagement letters
                                            and correspond with KPMG
                                            counsel regarding the same
06/16/17   V. L. Martinez     0.10 L120     Review and comment on                70.00
                                            correspondence to auditor
                                            regarding interview request
06/16/17   V. L. Martinez     0.50 L120     Hold weekly call with co-          350.00
                                            counsel
06/16/17   V. L. Martinez     2.50 L120     Finish draft of goodwill         1,750.00
                                            narrative, and send same to
                                            A. Cashman and client
06/16/17   T. C. Ryan         0.40 L120     Conference with co-counsel         280.00
                                            regarding strategy for
                                            information requests from
                                            government
06/17/17   T. C. Ryan         0.40 L120     Draft e-mail regarding             280.00
                                            communication with former
                                            employees regarding
                                            investigation
06/19/17   S. A. Bronder      1.20 P280     Exchange emails with               444.00
                                            Ringtail support and A.
                                            Cashman regarding search
                                            and review of documents
                                            potentially responsive to
                                            subpoena
06/19/17   S. A. Bronder      0.90 P280     Compile search terms run           333.00
                                            in Bluefin investigation for
                                            consideratoin by S.
                                            Lambrakopoulos in
                                            communications with
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DATE       NAME              HRS TASK      DESCRIPTION                    AMOUNT
                                           Deloitte
06/19/17   S. A. Bronder     0.20 P280     Confer wtih A. Cashman              74.00
                                           and T. Ryan regarding
                                           status and next steps
06/19/17   A. R. Cashman     0.40 L120     Conference with S. Bronder        148.00
                                           regarding status of
                                           document review and
                                           production in response to
                                           Subpoena
06/19/17   A. R. Cashman     0.50 L120     Conference with V.                185.00
                                           Martinez and client
                                           regarding narrative
                                           responses to SEC
06/19/17   A. R. Cashman     2.10 L120     Plan and prepare for              777.00
                                           document review of
                                           documents responsive to
                                           Subepoena
06/19/17   A. R. Cashman     0.70 L120     Conference call with WEC          259.00
                                           legal team regarding status
                                           of response to SEC
06/19/17   A. R. Cashman     0.70 L120     Conference call with WEC          259.00
                                           and Toshiba legal teams
                                           regarding status of
                                           response to SEC
06/19/17   J. A. Georges     0.10 L120     Respond to T. Ryan email            25.00
                                           request regarding SEC
                                           subpoena specifications for
                                           production
06/19/17   S. E.             0.80 B110     Participate in conference         560.00
           Lambrakopoulos                  call with client regarding
                                           SEC investigation
06/19/17   S. E.             0.70 B110     Participate in conference         490.00
           Lambrakopoulos                  call with co-counsel and
                                           Toshiba counsel regarding
                                           SEC investigation
06/19/17   S. E.             0.20 B110     Various emails regarding          140.00
           Lambrakopoulos                  same
06/19/17   S. E.             0.20 B110     Various emails with Deloitte      140.00
           Lambrakopoulos                  counsel regarding
                                           subpoena
06/19/17   S. E.             0.40 B110     Various emails with S.            280.00
           Lambrakopoulos                  Bronder regarding same
06/19/17   S. E.             0.30 B110     Review proposed search            210.00
           Lambrakopoulos                  terms
06/19/17   V. L. Martinez    0.50 L120     Hold call with A. Cashman         350.00
                                           and client to discuss
                                           goodwill impairment
                                           narrative, and to determine
                                           further steps needed to
                                           complete the draft
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DATE       NAME                  HRS TASK      DESCRIPTION                   AMOUNT
06/19/17   V. L. Martinez        1.50 L120     Hold calls with co-counsel     1,050.00
                                               and Toshiba counsel
                                               regarding investigation
                                               response strategies
06/19/17   T. C. Ryan            0.80 L120     Conference call with co-         560.00
                                               counsel regarding status of
                                               investigation
06/19/17   T. C. Ryan            0.70 L120     Update with Toshiba              490.00
                                               corporate counsel
06/20/17   E. S. Baum            0.20 B110     Meet with A. Cashman               74.00
                                               regarding document review
                                               for SEC subpoena
06/20/17   E. S. Baum            1.90 L650     Review documents for             703.00
                                               responsiveness to SEC
                                               subpoena
06/20/17   S. A. Bronder         0.90 P280     Supervise document review        333.00
06/20/17   A. R. Cashman         1.00 L320     Coordinate review of             370.00
                                               documents responsive to
                                               SEC subpoena
06/20/17   A. R. Cashman         0.70 L320     Conference with team             259.00
                                               regarding review of
                                               documents responsive to
                                               SEC subpoena
06/20/17   S. N. DeJarnett       0.50 L320     Meet with review team            185.00
                                               regarding document review
                                               protocol
06/20/17   S. N. DeJarnett       1.70 L320     Review documents to              629.00
                                               respond to SEC subpoena
06/20/17   K. M. Gafner          2.00 L650     Review documents                 740.00
                                               responsive to SEC
                                               subpoena
06/20/17   K. M. Gafner          0.50 L650     Conference with review           185.00
                                               team regarding document
                                               review
06/20/17   J. A. Jay             0.50 C100     Meeting with review team         185.00
                                               regarding document review
                                               protocol
06/20/17   J. A. Jay             4.80 C100     Review documents               1,776.00
                                               responding to SEC
                                               subpoena
06/20/17   D. I. Kelch           0.60 L140     Meeting with review team         222.00
                                               regarding document review
                                               protocol
06/20/17   D. I. Kelch           2.70 L140     Review documents in              999.00
                                               response to SEC subpoena
06/20/17   M. K. Komo            0.50 L650     Meet with review team            185.00
                                               regarding document review
                                               protocol for SEC subpoena
06/20/17   S. E.                 0.40 B110     Emails with T. Ryan and V.       280.00
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DATE       NAME               HRS TASK      DESCRIPTION                   AMOUNT
           Lambrakopoulos                   Martinez regarding strategy
06/20/17   S. E.              1.20 B110     Review research and              840.00
           Lambrakopoulos                   materials regarding SEC
                                            jurisdiction and regarding
                                            bankruptcy impact on SEC
                                            enforcement
06/20/17   V. L. Martinez     0.20 L120     Draft proposed revisions to      140.00
                                            email to SEC staff, and
                                            send same to T. Ryan
06/20/17   S. P. Reger        0.70 C100     Meeting with review team         259.00
                                            regarding document review
                                            protocol
06/20/17   E. Rinaldi         0.50 L320     Participate in meeting with      185.00
                                            review team regarding the
                                            document review protoco
06/20/17   E. Rinaldi         3.70 L320     Review documents to            1,369.00
                                            respond to SEC subpoena
06/20/17   J. T. Waddell      0.60 L110     Conference regarding             222.00
                                            document review protocol
                                            for SEC subpoena
                                            response
06/21/17   S. A. Bronder      0.20 P280     Oversee and manage                74.00
                                            document review
06/21/17   A. R. Cashman      0.50 L320     Conference with J. Kephart       185.00
                                            and E. Baum regarding
                                            review protocol for
                                            documents responsive to
                                            SEC subpoena
06/21/17   A. R. Cashman      0.30 L320     Manage review of                 111.00
                                            documents responsive to
                                            SEC subpoena
06/21/17   S. N. DeJarnett    1.80 L320     Review documents to              666.00
                                            respond to SEC subpoena
06/21/17   K. M. Flanigan     0.50 L110     Correspond with A.               185.00
                                            Cashman and J. Kephart
                                            regarding review of
                                            documents responsive to
                                            subpoena
06/21/17   K. M. Flanigan     1.50 L110     Review documents                 555.00
                                            responsive to subpoena
06/21/17   K. M. Gafner       3.20 L650     Review documents               1,184.00
                                            responsive to SEC
                                            subpoena
06/21/17   J. A. Jay          6.80 C100     Review documents               2,516.00
                                            responding to SEC
                                            subpoena
06/21/17   E. Rinaldi         3.80 L320     Review documents to            1,406.00
                                            respond to SEC subpoena
06/21/17   T. C. Ryan         0.50 L120     Incorporate comments form        350.00
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DATE       NAME               HRS TASK      DESCRIPTION                    AMOUNT
                                            client, co-counsel and
                                            correspond with
                                            government
06/22/17   E. S. Baum         2.00 L650     Review documents for              740.00
                                            responsiveness to SEC
                                            subpoena
06/22/17   S. A. Bronder      0.80 P280     Oversee review of                 296.00
                                            documents potentially
                                            responsive to subpoena
06/22/17   A. R. Cashman      2.20 L320     Manage review of and              814.00
                                            review documents
                                            responsive to SEC
                                            subpoena
06/22/17   A. R. Cashman      0.30 L320     Conference with S. Bronder        111.00
                                            regarding review of
                                            documents responsive to
                                            SEC subpoena
06/22/17   A. R. Cashman      0.20 L320     Correspond with co-counsel         74.00
                                            regarding documents
                                            responsive to subpoena
06/22/17   S. N. DeJarnett    1.80 L320     Review documents to               666.00
                                            respond to SEC subpoena
06/22/17   K. M. Flanigan     2.10 L110     Review documents                  777.00
                                            responsive to
                                            Westinghouse subpoena
06/22/17   J. A. Jay          5.10 C100     Review documents                1,887.00
                                            responding to SEC
                                            subpoena
06/22/17   S. E.              0.10 B110     Confer with V. Martinez            70.00
           Lambrakopoulos                   regarding Deloitte
                                            subpoena
06/22/17   S. E.              0.80 B110     Prepare search terms for          560.00
           Lambrakopoulos                   same
06/22/17   S. E.              0.30 B110     Emails to Deloitte counsel        210.00
           Lambrakopoulos                   regarding same
06/22/17   V. L. Martinez     0.20 L120     Hold call with A. Cashman         140.00
                                            regarding status of goodwill
                                            impairment narrative, and
                                            email client regarding the
                                            same
06/22/17   V. L. Martinez     0.10 L120     Email with co-counsel              70.00
                                            regarding tolling
                                            agreements
06/22/17   S. P. Reger        3.30 L650     Quality check review prior      1,221.00
                                            to production in response to
                                            SEC subpoena
06/22/17   E. Rinaldi         2.70 l320     Review documents to               999.00
                                            respond to SEC subpoena
06/22/17   T. C. Ryan         1.20 L110     Review status of partial          840.00
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DATE       NAME               HRS TASK      DESCRIPTION                   AMOUNT
                                            production, including
                                            addressing potential
                                            privilege and
                                            responsiveness issues
06/23/17   E. S. Baum         4.80 L650     Review documents for           1,776.00
                                            responsiveness to SEC
                                            subpoena
06/23/17   S. A. Bronder      0.60 P280     Confer with T. Ryan and A.       222.00
                                            Cashman regarding update
                                            and next steps
06/23/17   S. A. Bronder      0.70 P280     Manage document search           259.00
                                            and review
06/23/17   A. R. Cashman      0.70 L120     Conference call with co-         259.00
                                            counsel regarding status of
                                            response to subpoena
06/23/17   A. R. Cashman      0.20 L120     Coordinate with co-counsel        74.00
                                            regarding review of
                                            documents responsive to
                                            subpoena
06/23/17   A. R. Cashman      1.30 L320     Manage document review           481.00
                                            of documents responsive to
                                            subpoena
06/23/17   K. M. Gafner       2.80 L650     Review documents               1,036.00
                                            responsive to SEC
                                            subpoena
06/23/17   J. A. Jay          4.30 C100     Review documents               1,591.00
                                            responding to SEC
                                            subpoena
06/23/17   V. L. Martinez     0.80 L120     Hold weekly coordination         560.00
                                            call with co-counsel
06/23/17   V. L. Martinez     0.20 L120     Hold call with T. Ryan to        140.00
                                            learn outcomes of WEC
                                            board meeting in New York
                                            and upcoming tasks
06/23/17   E. Rinaldi         3.50 l320     Review documents to            1,295.00
                                            respond to SEC subpoena
06/23/17   T. C. Ryan         2.50 L110     Review status of production    1,750.00
                                            and hot documents for
                                            relevance, privilege issues
06/23/17   T. C. Ryan         2.20 L120     Conference with client         1,540.00
                                            regarding follow-up from
                                            Audit Committee meeting
06/23/17   T. C. Ryan         1.00 L120     Prepare for and conference       700.00
                                            with co-counsel regarding
                                            status of investigation
06/25/17   K. M. Flanigan     1.80 L110     Review documents                 666.00
                                            responsive to
                                            Westinghouse subpoena
06/26/17   M. D. M. Bateman   1.60 L110     Organize documents from          592.00
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DATE       NAME               HRS TASK      DESCRIPTION                     AMOUNT
                                            investigation for meeting
                                            with co-counsel
06/26/17   E. S. Baum         2.40 L650     Review documents for               888.00
                                            responsiveness to SEC
                                            subpoena
06/26/17   A. R. Cashman      1.70 L110     Review and edit second             629.00
                                            narrative response to the
                                            SEC
06/26/17   S. N. DeJarnett    1.60 L320     Review documents                   592.00
                                            responsive to SEC
                                            subpoena
06/26/17   K. M. Flanigan     2.00 L110     Review documents                   740.00
                                            responsive to
                                            Westinghouse subpoena
06/26/17   J. A. Georges      5.10 C100     Prepare and organize             1,275.00
                                            investigative reports,
                                            exhibits for meeting with co-
                                            counsel
06/26/17   J. A. Jay          6.80 C100     Review documents                 2,516.00
                                            responding to SEC
                                            subpoena
06/26/17   M. K. Komo         1.70 L650     Review documents                   629.00
                                            responding to SEC
                                            subpoena
06/26/17   S. E.              1.30 B110     Review materials regarding         910.00
           Lambrakopoulos                   SEC discussions and
                                            internal WEC presentations
06/26/17   V. L. Martinez     1.40 L120     Hold call with attorneys           980.00
                                            from co-counsel to discuss
                                            history of investigation
06/26/17   V. L. Martinez     0.10 L120     Hold call with T. Ryan to           70.00
                                            update on several
                                            developments
06/26/17   V. L. Martinez     0.10 L120     Correspond with co-counsel          70.00
                                            regarding status of KPMG
                                            production, discuss status
                                            of Deloitte production with
                                            S. Lambrakopolous
06/26/17   V. L. Martinez     1.40 L120     Review and revise goodwill         980.00
                                            impairment narrative
06/26/17   V. L. Martinez     0.20 L120     Correspond with A.                 140.00
                                            Cashman and client
                                            regarding open questions
                                            on the goodwill impairment
                                            narrative
06/26/17   E. Rinaldi         2.50 l320     Review documents to                925.00
                                            respond to SEC subpoena
06/26/17   T. C. Ryan         0.40 L120     Conference with co-counsel         280.00
                                            regarding document
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DATE       NAME               HRS TASK      DESCRIPTION                     AMOUNT
                                            production
06/26/17   J. T. Waddell      2.40 L320     Review documents                   888.00
                                            responsive to SEC
                                            subpoena
06/27/17   E. S. Baum         6.60 L650     Review documents for             2,442.00
                                            responsiveness to SEC
                                            subpoena
06/27/17   S. A. Bronder      0.50 P280     Confer with T. Ryan                185.00
                                            regarding next steps for
                                            subpoena response
06/27/17   A. R. Cashman      0.10 L120     Conference with V.                  37.00
                                            Martinez regarding status of
                                            second narrative response
                                            to the SEC
06/27/17   A. R. Cashman      0.50 L320     Respond to questions               185.00
                                            regarding review of
                                            documents responsive to
                                            subpoena
06/27/17   S. N. DeJarnett    0.60 L320     Review documents for               222.00
                                            responsiveness to SEC
                                            subpoena
06/27/17   K. M. Flanigan     1.60 L110     Review documents                   592.00
                                            responsive to
                                            Westinghouse subpoena
06/27/17   J. A. Georges      4.90 C100     Prepare and organize             1,225.00
                                            investigative materials for
                                            investigative reports for
                                            debrief with co-counsel
06/27/17   J. A. Jay          2.30 C100     Review documents                   851.00
                                            responding to SEC
                                            subpoena
06/27/17   M. K. Komo         4.50 L650     Review documents                 1,665.00
                                            responding to SEC
                                            subpoena
06/27/17   V. L. Martinez     0.10 L120     Hold call with C. Weber to          70.00
                                            revise goodwill impairment
                                            narrative
06/27/17   V. L. Martinez     0.20 L120     Hold call with co-counsel          140.00
                                            regarding the results of the
                                            day’s interviews and a call
                                            with government
06/27/17   V. L. Martinez     0.10 L120     Correspond with A.                  70.00
                                            Cashman on what remains
                                            to be produced for the
                                            goodwill impairment
                                            narrative
06/27/17   V. L. Martinez     1.70 L120     Revise goodwill impairment       1,190.00
                                            narrative following citations
                                            from A. Cashman and
                                            client, and send same to T.
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DATE       NAME               HRS TASK      DESCRIPTION                    AMOUNT
                                            Ryan
06/27/17   E. Rinaldi         4.10 l320     Review documents to             1,517.00
                                            respond to SEC subpoena
06/27/17   T. C. Ryan         0.40 L120     Call with co-counsel to           280.00
                                            prepare for call with
                                            government
06/27/17   T. C. Ryan         0.40 L120     Call with government              280.00
                                            counsel
06/27/17   J. T. Waddell      3.30 L320     Review documents                1,221.00
                                            responsive to SEC
                                            subpoena
06/28/17   E. S. Baum         5.40 L650     Review documents for            1,998.00
                                            responsiveness to SEC
                                            subpoena
06/28/17   J. A. Jay          6.40 C100     Review documents                2,368.00
                                            responding to SEC
                                            subpoena
06/28/17   M. K. Komo         0.50 L650     Review documents                  185.00
                                            responding to SEC
                                            subpoena
06/28/17   S. E.              0.30 B110     Telephone call with Deloitte      210.00
           Lambrakopoulos                   regarding subpoena review
06/28/17   S. E.              0.50 B110     Review search term hits           350.00
           Lambrakopoulos
06/28/17   V. L. Martinez     0.10 L120     Correspond with A.                 70.00
                                            Cashman regarding
                                            production of goodwill
                                            impairment narrative
06/28/17   E. Rinaldi         3.20 l320     Review documents to             1,184.00
                                            respond to SEC subpoena
06/29/17   E. S. Baum         0.90 L650     Review documents for              333.00
                                            responsiveness to SEC
                                            subpoena
06/29/17   A. R. Cashman      0.80 L110     Edit second narrative             296.00
                                            response to SEC to add
                                            citations to produced record
06/29/17   K. M. Flanigan     1.50 L110     Review documents                  555.00
                                            responsive to
                                            Westinghouse subpoena
06/29/17   J. A. Georges      0.40 P930     Prepare for co-counsel            100.00
                                            debrief
06/29/17   J. A. Jay          3.20 C100     Review documents                1,184.00
                                            responding to SEC
                                            subpoena
06/29/17   S. E.              0.30 B110     Confer with R. Manoso             210.00
           Lambrakopoulos                   regarding searches for
                                            Deloitte database
06/29/17   S. E.              1.90 B110     Review memo regarding           1,330.00
           Lambrakopoulos                   SEC interview; review
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DATE       NAME                 HRS TASK       DESCRIPTION                    AMOUNT
                                               related materials
06/29/17   R. W. Manoso          0.40 L120     Prepare for review of            148.00
                                               responsive documents for
                                               Deloitte subpoena along
                                               with privilege calls
06/29/17   V. L. Martinez        0.90 L120     Hold call with auditor           630.00
                                               counsel
06/29/17   V. L. Martinez        0.20 L120     Hold call with T. Ryan to        140.00
                                               consider points raised
                                               follow up to meeting with
                                               auditor
06/29/17   E. Rinaldi            1.70 l320     Review documents to              629.00
                                               respond to SEC subpoena
06/29/17   T. C. Ryan            0.80 L120     Conference with auditor          560.00
                                               counsel
06/29/17   J. T. Waddell         1.40 L320     Review documents                 518.00
                                               responsive to SEC
                                               subpoena
06/30/17   A. R. Cashman         0.40 L120     Conference with co-counsel       148.00
                                               regarding status of
                                               subpoena response
06/30/17   K. M. Flanigan        2.50 L110     Review documents                 925.00
                                               responsive to
                                               Westinghouse subpoena
06/30/17   D. I. Kelch           3.80 L310     Review documents to             1,406.00
                                               respond to SEC subpoena
06/30/17   V. L. Martinez        0.50 C300     Hold weekly update call          350.00
06/30/17   V. L. Martinez        0.10 C300     Discuss presentation              70.00
                                               outline with S.
                                               Lambrakopoulos
                            TOTAL FEES           300.20 hrs              $   147,758.00
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                              TIMEKEEPER SUMMARY

M. D. M. Bateman                 1.60   hrs at    $    370.00   / hr            592.00
E. S. Baum                      24.20   hrs at    $    370.00   / hr          8,954.00
S. A. Bronder                    7.00   hrs at    $    370.00   / hr          2,590.00
A. R. Cashman                   18.00   hrs at    $    370.00   / hr          6,660.00
S. N. DeJarnett                  8.00   hrs at    $    370.00   / hr          2,960.00
K. M. Flanigan                  13.50   hrs at    $    370.00   / hr          4,995.00
K. M. Gafner                     8.50   hrs at    $    370.00   / hr          3,145.00
J. A. Georges                   10.50   hrs at    $    250.00   / hr          2,625.00
J. A. Jay                       40.20   hrs at    $    370.00   / hr         14,874.00
D. I. Kelch                      7.10   hrs at    $    370.00   / hr          2,627.00
M. K. Komo                       7.20   hrs at    $    370.00   / hr          2,664.00
S. E. Lambrakopoulos            19.00   hrs at    $    700.00   / hr         13,300.00
R. W. Manoso                     1.20   hrs at    $    370.00   / hr            444.00
V. L. Martinez                  78.30   hrs at    $    700.00   / hr         54,810.00
S. P. Reger                      4.00   hrs at    $    370.00   / hr          1,480.00
E. Rinaldi                      25.70   hrs at    $    370.00   / hr          9,509.00
T. C. Ryan                      17.90   hrs at    $    700.00   / hr         12,530.00
D. L. Stecko                     0.60   hrs at    $    250.00   / hr            150.00
J. T. Waddell                    7.70   hrs at    $    370.00   / hr          2,849.00
                       TOTAL FEES                300.20 hrs             $   147,758.00
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                               TASK CODE SUMMARY

B110    Case Administration                     19.20   hrs                13,374.00
C100    Fact Gathering                          50.90   hrs                17,633.00
C300    Analysis and Advice                      0.60   hrs                   420.00
L110    Fact Investigation/Development          27.10   hrs                12,403.00
L120    Analysis/Strategy                       96.50   hrs                64,865.00
L140    Document/File Management                 3.30   hrs                 1,221.00
L310    Written Discovery                        3.80   hrs                 1,406.00
L320    Document Production                      5.20   hrs                 1,924.00
l320    Document Production                      9.00   hrs                 3,330.00
L320    Document Production                      4.00   hrs                 1,480.00
l320    Document Production                      2.70   hrs                   999.00
L320    Document Production                      0.60   hrs                   222.00
l320    Document Production                      6.00   hrs                 2,220.00
L320    Document Production                     20.30   hrs                 7,511.00
L620    eDiscovery Collection                    0.60   hrs                   150.00
L650    eDiscovery Review                       43.00   hrs                15,910.00
P280    Other                                    7.00   hrs                 2,590.00
P930    Other                                    0.40   hrs                   100.00
                          TOTAL FEES           300.20   hrs         $     147,758.00


                       DISBURSEMENTS & OTHER CHARGES

DESCRIPTION                                                                AMOUNT
Long Distance Courier                                                         323.61
Pacer Research                                                                  1.00
Telephone / Conference Calls / Fx Line Trans                                    3.31
Westlaw Research                                                            1,163.25
                         DISBURSEMENTS & OTHER CHARGES              $       1,491.17
17-10751-mew
BTK00117


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                                K&L GATES LLP
                                K&L GATES CENTER
                                210 SIXTH AVENUE
                                PITTSBURGH, PA 15222-2613
                                T +1 412 355 6500 F +1 412 355 6501 klgates.com
                                Tax ID No. 25 0921018




Westinghouse Electric Co. LLC                                                         Invoice Date                          :      August 15, 2017
1000 Westinghouse Drive                                                               Invoice Number                        :      3419029
Cranberry Township, PA 16066                                                          Services Through                      :      July 31, 2017




  0236915.00030          Subpoena Response


                                                          INVOICE SUMMARY

Fees                                                                                                                                      $       116,737.00
Disbursements and Other Charges                                                                                                           $         3,599.07

CURRENT INVOICE DUE                                                                                                                       $       120,336.07




                                                               Due and Payable upon Receipt
           Mail: K&L Gates LLP, K&L Gates Center – RCAC, 210 Sixth Ave, Pittsburgh, PA 15222
           Wire Transfer Instructions: Receiving Bank: The Bank of New York Mellon, 500 Ross Street, Pittsburgh, PA 15262
                                       BIC Code: IRVTUS3N
                                       ABA: 043000261
                                       Beneficiary: K&L Gates LLP AIS Account
                                       Acct No.: 127-2657
                                     When initiating a wire transfer/ACH, please reference client/matter number on wire information and please send
                                     notification to RCAC_East@klgates.com with details including dollar amount, date and client/matter/invoice number(s).
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                                                                         Invoice # 3419029
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                                         FEES

DATE       NAME                  HRS TASK       DESCRIPTION                    AMOUNT
07/03/17   S. E.                 1.10 B110      Review and revise draft          770.00
           Lambrakopoulos                       outline for SEC
                                                presentation
07/03/17   S. E.                 0.40 B110      Review status memo from           280.00
           Lambrakopoulos                       White & Case and related
                                                materials
07/03/17   V. L. Martinez        4.20 C300      Review and revise draft         2,940.00
                                                outline for SEC
                                                presentation created by co-
                                                counsel
07/03/17   V. L. Martinez        0.10 C300      Correspond with S.                  70.00
                                                Lambrakopoulos and T.
                                                Ryan regarding draft outline
07/05/17   S. A. Bronder         0.40 P280      Conference with A.                148.00
                                                Cashman regarding review
                                                of documents potentially
                                                responsive to subpoena
07/05/17   A. R. Cashman         0.40 L320      Coordinate review of              148.00
                                                documents responsive to
                                                SEC subpoena
07/05/17   K. M. Gafner          0.60 L650      Review documents for              222.00
                                                responsiveness to SEC
                                                subpoena
07/05/17   S. E.                 0.70 B110      Review draft narrative and        490.00
           Lambrakopoulos                       related materials
07/05/17   S. E.                 0.20 B110      Emails with counsel               140.00
           Lambrakopoulos                       regarding SEC
                                                communications
07/05/17   S. E.                 0.90 B110      Work on legal argument            630.00
           Lambrakopoulos                       section for SEC
                                                presentation
07/05/17   V. L. Martinez        0.30 C300      Review comments of S.             210.00
                                                Lambrakopoulos on co-
                                                counselpresentation outline
07/05/17   V. L. Martinez        0.20 C300      Hold call with T. Ryan to         140.00
                                                discuss status of various
                                                matters related to
                                                investigation
07/06/17   K. M. Gafner          0.20 L320      Discussion regarding                74.00
                                                search terms
07/06/17   S. E.                 0.60 B110      Telephone call with co-           420.00
           Lambrakopoulos                       counsel regarding
                                                presentation outline
07/06/17   S. E.                 0.20 B110      Emails with Deloitte's            140.00
           Lambrakopoulos                       counsel regarding joint
                                                defense agreement
07/06/17   S. E.                 0.30 B110      Conference with V.                210.00
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DATE       NAME               HRS TASK      DESCRIPTION                      AMOUNT
           Lambrakopoulos                   Martinez regarding same
07/06/17   S. E.              1.00 B110     Review narrative questions          700.00
           Lambrakopoulos                   on goodwill impairment
07/06/17   S. E.              0.20 B110     Review documents and                140.00
           Lambrakopoulos                   related communications
                                            with Deloitte regarding SEC
                                            subpoena
07/06/17   S. E.              0.10 B110     Emails with Deloitte                  70.00
           Lambrakopoulos                   counsel regarding
                                            subpoena
07/06/17   V. L. Martinez     0.20 C300     Conference with T. Ryan to          140.00
                                            discuss outstanding issues
                                            and status of investigation
07/06/17   V. L. Martinez     0.30 C300     Correspond with S.                  210.00
                                            Lambrakopoulos, and hold
                                            call with co-counsel
                                            regarding providing draft of
                                            goodwill impairment
                                            narrative to Deloitte
07/06/17   V. L. Martinez     0.20 C300     Revise and send outline to          140.00
                                            co-counsel
07/07/17   S. A. Bronder      0.70 P280     Participate in weekly               259.00
                                            update call
07/07/17   A. R. Cashman      0.80 L120     Conference with co-counsel          296.00
                                            regarding subpoena
                                            response
07/07/17   S. E.              0.70 B110     Conference call with co-            490.00
           Lambrakopoulos                   counsel regarding status
                                            and strategy
07/07/17   S. E.              0.80 B110     Review edits to goodwill            560.00
           Lambrakopoulos                   narrative relating to Deloitte
07/07/17   S. E.              0.40 B110     Review materials relating to        280.00
           Lambrakopoulos                   Deloitte work related to
                                            goodwill impairment
07/07/17   S. E.              0.50 B110     Conference call with                350.00
           Lambrakopoulos                   Deloitte's counsel regarding
                                            goodwill impairment work
07/07/17   S. E.              0.30 B110     Carious emails with team            210.00
           Lambrakopoulos                   and V. Martinez regarding
                                            same
07/07/17   S. E.              0.30 B110     Confer with R. Manoso               210.00
           Lambrakopoulos                   regarding Deloitte email
                                            review
07/07/17   R. W. Manoso       1.20 L120     Review background                   444.00
                                            material related to Deloitte
                                            in preparation for privilege
                                            review
07/07/17   V. L. Martinez     0.30 c300     Review correspondence               210.00
                                            from co-counsel, including
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DATE       NAME               HRS TASK      DESCRIPTION                    AMOUNT
                                            weekly report, and
                                            correspond with co-counsel
                                            regarding weekly call
07/07/17   V. L. Martinez     0.60 c300     Hold weekly call with co-         420.00
                                            counsel to discuss
                                            developments, including
                                            discusions with government
07/07/17   V. L. Martinez     0.40 c300     Review and revise goodwill        280.00
                                            impairment narrative in
                                            response to co-counsel
07/07/17   T. C. Ryan         0.40 L110     Conference with                   280.00
                                            government
07/07/17   T. C. Ryan         0.60 L120     Update call with co-counsel       420.00
07/10/17   S. A. Bronder      0.20 P280     Confer with A. Cashman             74.00
                                            regarding next steps
07/10/17   S. E.              0.30 B110     Emails with counsel               210.00
           Lambrakopoulos                   regarding SEC presentation
07/10/17   V. L. Martinez     1.50 L120     Draft responses outlining       1,050.00
                                            potential defensive
                                            strategies
07/10/17   V. L. Martinez     0.20 L120     Hold call with T. Ryan            140.00
                                            regarding the same
07/10/17   V. L. Martinez     3.50 L120     Conduct research on             2,450.00
                                            materiality for potentially
                                            omitting estimated financial
                                            information
07/10/17   V. L. Martinez     3.60 L120     Draft slides for anticipated    2,520.00
                                            SEC presentation
07/11/17   K. M. Gafner       1.80 L650     Conduct responsiveness            666.00
                                            review of documents
07/11/17   R. W. Manoso       0.50 L320     Prepare for privilege review      185.00
                                            of Deloitte documents
07/11/17   V. L. Martinez     1.50 L120     Draft slides for anticipated    1,050.00
                                            presentation to the SEC
07/12/17   V. L. Martinez     3.50 L120     Conduct research into           2,450.00
                                            elements of potential
                                            Exchange Act Section 10(b)
                                            charge
07/12/17   V. L. Martinez     3.30 L120     Draft slides for anticipated    2,310.00
                                            SEC presentation
07/12/17   V. L. Martinez     0.20 L120     Hold calls with A. Cashman        140.00
                                            and T. Ryan about email
                                            production and upcoming
                                            meetings, respectively
07/13/17   A. R. Cashman      2.30 L320     Review documents for              851.00
                                            production to SEC
07/13/17   V. L. Martinez     4.00 L120     Conduct research on             2,800.00
                                            various motions to dismiss
                                            in antifraud cases
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DATE       NAME               HRS TASK      DESCRIPTION                    AMOUNT
07/13/17   V. L. Martinez     2.50 L120     Conduct research on             1,750.00
                                            omissions cases
07/13/17   V. L. Martinez     1.00 L120     Draft slides for anticipated      700.00
                                            presentation to the SEC
07/14/17   A. R. Cashman      3.90 L320     Review documents                1,443.00
                                            responsive to SEC
                                            subpoena for production
07/14/17   S. E.              0.40 B110     Telephone call with Deloitte      280.00
           Lambrakopoulos                   counsel regarding
                                            subpoena and related
                                            narrative
07/14/17   S. E.              0.20 B110     Emails with team regarding        140.00
           Lambrakopoulos                   narrative
07/14/17   V. L. Martinez     3.00 L120     Conduct research law            2,100.00
                                            concerning
                                            misrepresentations and
                                            omissions
07/14/17   V. L. Martinez     1.50 L120     Conduct research on             1,050.00
                                            Exchange Act Section 10(b)
                                            "in connection with"
                                            requirement
07/15/17   A. R. Cashman      1.50 L320     Review documents                  555.00
                                            responsive to SEC
                                            subpoena for production
07/15/17   V. L. Martinez     2.00 L120     Conduct research on the "in     1,400.00
                                            connection with"
                                            requirement, and read
                                            recent pleadings in SEC
                                            cases on the issue
07/16/17   A. R. Cashman      2.90 L320     Review documents                1,073.00
                                            responsive to SEC
                                            subpoena for production
07/16/17   V. L. Martinez     0.20 L120     Correspond with KLG team          140.00
                                            regarding question of
                                            privilege and request for
                                            search in current email
                                            production
07/17/17   S. A. Bronder      4.00 P280     Review documents for            1,480.00
                                            responsiveness to
                                            subpoena
07/17/17   A. R. Cashman      5.60 L320     Review documents for            2,072.00
                                            production in response to
                                            SEC subpoena
07/17/17   R. W. Manoso       4.10 L320     Review Deloitte documents       1,517.00
                                            for privilege concerns prior
                                            to production to SEC
07/17/17   V. L. Martinez     2.50 L120     Conduct research                1,750.00
                                            concerning cases on
                                            scienter in SEC antifraud
                                            actions
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DATE       NAME               HRS TASK      DESCRIPTION                     AMOUNT
07/17/17   V. L. Martinez     3.20 L120     Draft slide deck for SEC         2,240.00
                                            presentation
07/18/17   S. A. Bronder      0.50 P280     Review documents for               185.00
                                            production
07/18/17   A. R. Cashman      0.70 L120     Conference call with co-           259.00
                                            counsel regarding status of
                                            subpoena response
07/18/17   A. R. Cashman      6.30 l320     Review documents for             2,331.00
                                            production responsive to
                                            SEC subpoena
07/18/17   S. E.              0.50 B110     Confer with V. Martinez            350.00
           Lambrakopoulos                   regarding SEC presentation
                                            draft
07/18/17   S. E.              0.20 B110     Brief review of draft slide        140.00
           Lambrakopoulos                   deck
07/18/17   S. E.              0.40 B110     Emails with T. Ryan                280.00
           Lambrakopoulos                   regarding investigative
                                            report; review draft report
07/18/17   R. W. Manoso       4.80 L320     Review documents marked          1,776.00
                                            as responsive from Deloitte
                                            for attorney-client privilege
                                            and work product concerns
                                            prior to SEC production
07/18/17   V. L. Martinez     1.50 L120     Conduct research on recent       1,050.00
                                            decisions related to motions
                                            to dismiss
07/18/17   V. L. Martinez     0.50 L120     Hold call with co-ounsel to        350.00
                                            provide updates on various
                                            aspects of the case
07/18/17   V. L. Martinez     1.00 L120     Draft slides for SEC               700.00
                                            presentation
07/18/17   V. L. Martinez     1.10 L120     Research SEC                       770.00
                                            Enforcement Manual
07/19/17   A. R. Cashman      3.30 L320     Review documents for             1,221.00
                                            production responsive to
                                            SEC subpoena
07/19/17   S. E.              0.40 B110     Emails with Deloitte               280.00
           Lambrakopoulos                   counsel regarding goodwill
                                            impairment
07/19/17   S. E.              0.70 B110     Review comments to                 490.00
           Lambrakopoulos                   narrative
07/19/17   S. E.              1.00 B110     Work on draft presentation         700.00
           Lambrakopoulos                   for SEC comments
07/19/17   S. E.              0.80 B110     Review related documents           560.00
           Lambrakopoulos                   and legal authority
07/19/17   S. E.              0.20 B110     Emails with R. Manoso              140.00
           Lambrakopoulos                   regarding document review
07/19/17   V. L. Martinez     0.50 L120     Review correspondence              350.00
                                            and hold call with A.
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DATE       NAME               HRS TASK      DESCRIPTION                     AMOUNT
                                            Cashman to discuss issues
                                            of responsiveness to the
                                            SEC’s subpoena and the
                                            applicability of privilege to
                                            certain materials
07/19/17   T. C. Ryan         0.90 L120     Conference with co-counsel         630.00
                                            regarding e-mail
                                            production, privilege
                                            positions
07/20/17   A. R. Cashman      1.50 L320     Finalize production of             555.00
                                            documents responsive to
                                            SEC subpoena
07/20/17   S. E.              0.30 B110     Confer with V. Martinez            210.00
           Lambrakopoulos                   regarding goodwill
                                            impairment narrative
07/20/17   S. E.              0.90 B110     Conference call with V.            630.00
           Lambrakopoulos                   Martinez and Deloitte
                                            counsel regarding goodwill
                                            impairment
07/20/17   S. E.              0.40 B110     Work on draft letter to SEC        280.00
           Lambrakopoulos                   regarding goodwill
                                            impairment
07/20/17   S. E.              0.20 B110     Emails to Deloitte counsel         140.00
           Lambrakopoulos                   regarding goodwill
                                            impairment
07/20/17   V. L. Martinez     0.30 L120     Meet with S.                       210.00
                                            Lambrakopoulos to discuss
                                            changes to goodwill
                                            impairment narrative
07/20/17   V. L. Martinez     0.50 L120     Hold call with counsel for         350.00
                                            Deloitte to discuss changes
                                            to goodwill impairment
                                            narrative
07/20/17   V. L. Martinez     1.00 L120     Draft suggested counter-           700.00
                                            edits
07/20/17   V. L. Martinez     0.20 L120     Review and comment on              140.00
                                            production letter
07/21/17   S. A. Bronder      0.80 P280     Weekly update conference           296.00
                                            call
07/21/17   A. R. Cashman      0.80 l120     Conference call regarding          296.00
                                            status with co-counsel
07/21/17   A. R. Cashman      1.70 L320     Finalize production of             629.00
                                            responsive documents to
                                            SEC
07/21/17   S. E.              0.30 B110     Telephone call with V.             210.00
           Lambrakopoulos                   Martinez regarding goodwill
                                            impairment narrative
07/21/17   S. E.              0.30 B110     Conference calls with V.           210.00
           Lambrakopoulos                   Martinez and Deloitte
                                            counsel regarding goodwill
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DATE       NAME               HRS TASK      DESCRIPTION                     AMOUNT
                                            impairment
07/21/17   S. E.              0.50 B110     Review proposed edits to           350.00
           Lambrakopoulos                   narrative
07/21/17   S. E.              0.80 B110     Participate in status call         560.00
           Lambrakopoulos                   with co-counsel
07/21/17   S. E.              1.10 B110     Review and revise draft            770.00
           Lambrakopoulos                   presentation to SEC
07/21/17   V. L. Martinez     2.50 L120     Redraft goodwill impairment      1,750.00
                                            narrative in response to
                                            edits by counsel for Deloitte
07/21/17   V. L. Martinez     0.60 L120     Hold calls with S.                 420.00
                                            Lambrakopoulos and
                                            counsel for Deloitte
                                            regarding the
07/21/17   V. L. Martinez     1.00 L120     Hold weekly call with co-          700.00
                                            counsel
07/21/17   V. L. Martinez     0.30 L120     Correspond with team               210.00
                                            regarding letter to
                                            accompany production of
                                            emails to the SEC
07/21/17   V. L. Martinez     0.20 L120     Revise goodwill impairment         140.00
                                            following response to open
                                            question from Deloitte’s
                                            counsel and redistribute
07/23/17   S. E.              2.50 B110     Revise draft SEC                 1,750.00
           Lambrakopoulos                   presentations and review
                                            related research memos
                                            and investigative report
07/23/17   R. W. Manoso       3.00 L320     Perform privilege review for     1,110.00
                                            documents marked for
                                            production by Deloitte in
                                            response to SEC subpoena
07/24/17   A. R. Cashman      0.50 L110     Send correspondence to             185.00
                                            Chief FOIA officer
                                            regarding production
07/24/17   S. E.              1.50 B110     Meet with V. Martinez            1,050.00
           Lambrakopoulos                   regarding SEC presentation
07/24/17   S. E.              0.40 B110     Review outline and co-             280.00
           Lambrakopoulos                   counsel draft
07/24/17   S. E.              1.60 B110     Review relevant                  1,120.00
           Lambrakopoulos                   investigative reports and
                                            legal research in
                                            connection with
                                            presentation
07/24/17   V. L. Martinez     2.00 L120     Research regarding               1,400.00
                                            conditions required for the
                                            SEC to seek an injunction
07/24/17   V. L. Martinez     1.50 L120     Review S. Lambrakopoulos’        1,050.00
                                            changes to slides and meet
17-10751-mew       Doc 1363-11   Filed 09/14/17 Entered 09/14/17 10:43:57    Exhibit J-2
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DATE       NAME                  HRS TASK      DESCRIPTION                  AMOUNT
                                               to discuss same
07/24/17   V. L. Martinez        2.50 L120     Finish drafting slides and    1,750.00
                                               send same to T. Ryan
07/24/17   V. L. Martinez        0.50 L120     Receive and review slides       350.00
                                               from co-counsel, and
                                               correspond to set next
                                               meeting
07/24/17   T. C. Ryan            1.10 L120     Review and revise draft         770.00
                                               slide deck
07/25/17   A. R. Cashman         1.20 L110     Review draft presentations      444.00
                                               for the SEC
07/25/17   S. E.                 0.60 B110     Conference call with V.         420.00
           Lambrakopoulos                      Martinez and T. Ryan
                                               regarding SEC presentation
                                               draft
07/25/17   S. E.                 0.60 B110     Various calls and meetings      420.00
           Lambrakopoulos                      with V. Martinez regarding
                                               same
07/25/17   S. E.                 1.20 B110     Review and revise draft         840.00
           Lambrakopoulos                      section from co-counsel
07/25/17   V. L. Martinez        4.50 L120     Read contracts relating to    3,150.00
                                               IHI and KAP investments in
                                               WEC
07/25/17   V. L. Martinez        0.20 L120     Meet with S.                    140.00
                                               Lambrakopoulos regarding
                                               minority investments
07/25/17   V. L. Martinez        0.50 L120     Hold call with S.               350.00
                                               Lambrakopoulos and T.
                                               Ryan regarding draft of
                                               slides for presentation to
                                               SEC
07/25/17   V. L. Martinez        2.80 L120     Review slides, review S.      1,960.00
                                               Lambrakopoulos’ markup of
                                               the same, and prepare
                                               responses to share with
                                               W&C regarding the same
07/25/17   T. C. Ryan            2.10 L120     Review and revise slide       1,470.00
                                               deck, narrative
07/26/17   S. A. Bronder         0.90 P280     Confer with team regarding      333.00
                                               revisions to presentation
07/26/17   A. R. Cashman         0.50 L120     Conference with V.              185.00
                                               Martinez, S.
                                               Lambrakopoulos, and S.
                                               Bronder regarding
                                               presentation to SEC
07/26/17   A. R. Cashman         0.50 l120     Conference with co-counsel      185.00
                                               regarding strategy for
                                               presentation to SEC
07/26/17   S. E.                 0.50 B110     Various meetings with V.        350.00
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DATE       NAME               HRS TASK      DESCRIPTION                    AMOUNT
           Lambrakopoulos                   Martinez regarding SEC
                                            presentation draft
07/26/17   S. E.              0.40 B110     Conference call with V.           280.00
           Lambrakopoulos                   Martinez, A. Cashman and
                                            S. Bronder regarding draft
                                            presentation
07/26/17   S. E.              0.50 B110     Conference call with co-          350.00
           Lambrakopoulos                   counsel and team regarding
                                            same
07/26/17   S. E.              2.40 B110     Review and revise draft;        1,680.00
           Lambrakopoulos                   research waiver question in
                                            connection with auditor
                                            disclosure
07/26/17   V. L. Martinez     1.20 L120     Continue to review                840.00
                                            investment and put
                                            agreement contracts
07/26/17   V. L. Martinez     0.50 L120     Conduct research regarding        350.00
                                            the actionability of
                                            unconsummated offers
07/26/17   V. L. Martinez     1.00 L120     Hold calls with co-counsel        700.00
                                            regarding how to
                                            consolidate the slide
                                            presentations
07/26/17   V. L. Martinez     1.00 L120     Draft memorandum                  700.00
                                            regarding settlement
                                            considerations
07/26/17   V. L. Martinez     0.50 L120     Begin to conduct research         350.00
                                            on monetary penalties in
                                            recent SEC financial fraud
                                            actions
07/27/17   S. E.              1.50 B110     Review materials in             1,050.00
           Lambrakopoulos                   connection with draft SEC
                                            presentation and related
                                            research
07/27/17   V. L. Martinez     1.00 L120     Conduct research regarding        700.00
                                            penalty measures
07/27/17   V. L. Martinez     1.80 L120     Draft strategy                  1,260.00
                                            memorandum
07/27/17   V. L. Martinez     0.20 L120     Discuss scenarios to              140.00
                                            resolve investigation
07/27/17   V. L. Martinez     0.10 L120     Voice mail for client to           70.00
                                            determine status of goodwill
                                            impairment narrative, and
                                            review correspondence
                                            regarding the same from
                                            co-counsel
07/28/17   A. R. Cashman      0.60 L120     Conference with co-counsel        222.00
                                            regarding status of SEC
                                            subpoena response
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DATE       NAME               HRS TASK      DESCRIPTION                    AMOUNT
07/28/17   A. R. Cashman      0.30 L120     Edit narrative response to       111.00
                                            SEC regarding historic
                                            accounting issues
07/28/17   S. E.              1.50 B110     Review research relating to     1,050.00
           Lambrakopoulos                   SEC presentation; various
                                            emails with team regarding
                                            same
07/28/17   V. L. Martinez     0.50 L120     Correspond and hold call          350.00
                                            with T. Ryan to discuss
                                            goodwill impairment
                                            narrative and other aspects
                                            of the SEC case
07/28/17   V. L. Martinez     2.50 L120     Conduct research on             1,750.00
                                            potential monetary
                                            exposures
07/28/17   V. L. Martinez     0.90 L120     Hold weekly status update         630.00
                                            call with co-counsel and
                                            correspond with S.
                                            Lambrakopoulos regarding
                                            the same
07/28/17   V. L. Martinez     1.00 L120     Draft memorandum of               700.00
                                            settlement considerations
07/28/17   T. C. Ryan         0.50 L110     Conference with                   350.00
                                            government counsel
07/28/17   T. C. Ryan         0.80 L120     Prepare for and participate       560.00
                                            in conference call with co-
                                            counsel
07/30/17   V. L. Martinez     1.80 L120     Review, analyze and             1,260.00
                                            prepare notes regarding
                                            shareholders agreements
07/31/17   A. R. Cashman      1.10 L320     Review documents                  407.00
                                            identified as privileged and
                                            responsive to SEC
                                            subpoena
07/31/17   S. E.              1.00 B110     Confer with V. Martinez           700.00
           Lambrakopoulos                   regarding SEC staff
                                            discussions
07/31/17   S. E.              1.00 B110     Research caselaw relating         700.00
           Lambrakopoulos                   to "in connection" and
                                            materiality elements
07/31/17   S. E.              0.40 B110     Conference with R. Manoso         280.00
           Lambrakopoulos                   regarding Deloitte
                                            production
07/31/17   S. E.              0.70 B110     Review information on             490.00
           Lambrakopoulos                   minority shareholder
                                            agreements
07/31/17   V. L. Martinez     6.90 L120     Review shareholder              4,830.00
                                            agreements and put
                                            agreements, compare
                                            versions, write up notes,
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DATE       NAME                  HRS TASK         DESCRIPTION                     AMOUNT
                                                  and share observations
                                                  with S. Lambrakopoulos
07/31/17   V. L. Martinez        0.50 L120        Review cases provided by           350.00
                                                  S. Lambrakopoulos
                                                  regarding "in connection
                                                  with" requirement and
                                                  materiality requirement
07/31/17   V. L. Martinez        0.50 L120        Hold call and correspond           350.00
                                                  with client regarding
                                                  goodwill impairment
                                                  narrative
07/31/17   V. L. Martinez        0.10 L120        Correspond with A.                  70.00
                                                  Cashman regarding
                                                  producing goodwill
                                                  impairment narrative
                            TOTAL FEES              195.10 hrs             $     116,737.00


                                 TIMEKEEPER SUMMARY

S. A. Bronder                         7.50   hrs at    $    370.00   / hr          2,775.00
A. R. Cashman                        36.40   hrs at    $    370.00   / hr         13,468.00
K. M. Gafner                          2.60   hrs at    $    370.00   / hr            962.00
S. E. Lambrakopoulos                 36.90   hrs at    $    700.00   / hr         25,830.00
R. W. Manoso                         13.60   hrs at    $    370.00   / hr          5,032.00
V. L. Martinez                       91.70   hrs at    $    700.00   / hr         64,190.00
T. C. Ryan                            6.40   hrs at    $    700.00   / hr          4,480.00
                            TOTAL FEES                195.10 hrs             $   116,737.00
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                                TASK CODE SUMMARY

B110     Case Administration                     36.90   hrs                25,830.00
C300     Analysis and Advice                      0.20   hrs                   140.00
c300     Analysis and Advice                      1.00   hrs                   700.00
C300     Analysis and Advice                      0.60   hrs                   420.00
c300     Analysis and Advice                      0.30   hrs                   210.00
C300     Analysis and Advice                      4.70   hrs                 3,290.00
L110     Fact Investigation/Development           2.60   hrs                 1,259.00
L120     Analysis/Strategy                       11.70   hrs                 8,190.00
l120     Analysis/Strategy                        0.80   hrs                   296.00
L120     Analysis/Strategy                        1.00   hrs                   535.00
l120     Analysis/Strategy                        0.50   hrs                   185.00
L120     Analysis/Strategy                       81.80   hrs                56,072.00
L320     Document Production                     15.60   hrs                 5,772.00
l320     Document Production                      6.30   hrs                 2,331.00
L320     Document Production                     21.20   hrs                 7,844.00
L650     eDiscovery Review                        2.40   hrs                   888.00
P280     Other                                    7.50   hrs                 2,775.00
                           TOTAL FEES           195.10   hrs         $     116,737.00


                        DISBURSEMENTS & OTHER CHARGES

DESCRIPTION                                                                 AMOUNT
Lexis Research                                                                 933.77
Long Distance Courier                                                           21.94
Westlaw Research                                                             2,643.36
                         DISBURSEMENTS & OTHER CHARGES               $       3,599.07
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                                      K&L GATES LLP
                                      925 FOURTH AVENUE
                                      SUITE 2900
                                      SEATTLE, WA 98104-1158
                                      T 206.623.7580 F 206.623.7022 klgates.com
                                      Tax ID No. 25 0921018




Westinghouse Electric Co. LLC                                                          Invoice Date                     :     June 8, 2017
1000 Westinghouse Drive                                                                Invoice Number                   :     3395025
Cranberry Township, PA 16066                                                           Services Through                 :     May 31, 2017
                                                                                       Our File Number                  :     0236915




                                                   INVOICE SUMMARY BY MATTER

CONFIDENTIAL -- e-DAT Fees (70030)

       Fees                                                                        $         6,766.86
       Disbursements and Other Charges                                             $           590.17
       Total Amount Due This Matter                                                                                                $           7,357.03



CURRENT INVOICE DUE - All Matters                                                                                                   $          7,357.03




This invoice reflects fees and costs not previously billed. Past due balances, if any, will be shown on a separate statement of account at the beginning of the
next month. Payment is due in U.S. dollars upon receipt. Funds may be wired to our account number 153557906580 US Bank, Private Financial Services, 1420
5 th Ave. Suite 2100, Seattle, WA 98101, ABA Routing Number 125000105, SWIFT Code: USBKUS44IMT. Check payments should be sent to K&L Gates LLP,
RCAC, 925 Fourth Ave., Suite 2900, Seattle, WA 98104-1158.
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CONFIDENTIAL -- e-DAT Fees (70030)                                          $7,357.03

                                       FEES

DATE       NAME               HRS TASK        DESCRIPTION                    AMOUNT
04/12/17   L. A. Diersen      0.60 B110       Strategize with V. Martinez      150.00
                                              in regards to production
                                              specifications
04/12/17   L. A. Diersen      0.20 B110       Run advanced searches              50.00
                                              and isolate production set
04/13/17   L. A. Diersen      2.00 B110       Electronically produce data       500.00
                                              out of litigation support
                                              database per the request of
                                              V. Martinez for production
                                              to opposition
04/30/17   ESI Processing     N/A    B110     ESI Processing: 0.06642            19.92
                                              GB processed @ $50/GB =
                                              $3.32 (raw extracted
                                              volume - input); 0.06642
                                              GB processed @ $250/GB
                                              = $16.60 (post- filtered
                                              volume - output); Total ESI
                                              Processing Charge: $19.92
05/02/17   L. A. Diersen      0.40 L120       Strategize with S. Bronder        100.00
                                              in regards to loading data
                                              into Ringtail via NUIX from
                                              thumb drive Westinghouse
                                              collection
05/05/17   L. A. Diersen      0.60 L140       Run advanced searches for         150.00
                                              date restriction documents
                                              and isolate results to
                                              determine collection set as
                                              requested by S. Bronder
05/08/17   L. A. Diersen      0.60 L320       Strategize with A. Cashman        150.00
                                              in regards to production
                                              specifications
05/09/17   L. A. Diersen      1.30 L140       Export searchable pdfs for        325.00
                                              T. Ryan as requested by S.
                                              Bronder
05/09/17   L. A. Diersen      0.40 L140       Organize and stage                100.00
                                              collection script as
                                              requested by S. Bronder for
                                              T. Ryan
05/10/17   J. A. Chiccarino   0.60 L320       Coordinate with litigation        222.00
                                              support regarding
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DATE       NAME                HRS TASK       DESCRIPTION                     AMOUNT
                                              document production
05/10/17   L. A. Diersen        4.20 L140     Electronically produce          1,050.00
                                              "WEC SEC 002" out of
                                              litigation support database
                                              per the request of A.
                                              Cashman for production to
                                              opposition
05/11/17   J. A. Chiccarino     0.40 L320     Coordinate with litigation        148.00
                                              support regarding
                                              document production
05/11/17   L. A. Diersen        0.40 L120     Strategize with S. Bronder        100.00
                                              in regards to external user
                                              access
05/12/17   L. A. Diersen        0.60 L120     Strategize with S. Bronder        150.00
                                              and organize "client"
                                              permissions in anticipation
                                              of external user review)
05/12/17   L. A. Diersen        0.50 L120     Strategize with S. Reger          125.00
                                              and provide a production
                                              report for letter
05/18/17   L. A. Diersen        0.40 L140     Run advanced searches for         100.00
                                              specified email threads as
                                              requested by A. Cashman
05/19/17   L. A. Diersen        0.90 L320     Organize, stage and load          225.00
                                              Exhibits in anticipation of
                                              production as requested by
                                              A. Cashman
05/22/17   L. A. Diersen        0.30 L140     Strategize with A. Cashman          75.00
                                              in regards to certain
                                              transaction documents
05/31/17   ESI Processing       N/A   B110    ESI Processing: 9.00222         2,676.94
                                              GB processed @ $50/GB =
                                              $450.11 (raw extracted
                                              volume - input); 8.90732
                                              GB processed @ $250/GB
                                              = $2,226.83 (post- filtered
                                              volume - output); Total ESI
                                              Processing Charge:
                                              $2,676.94
                           TOTAL FEES              15.80 hrs              $    6,766.86
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                                             TIMEKEEPER SUMMARY

J. A. Chiccarino                              1.00 hrs at                 $    370.00 / hr                          370.00
L. A. Diersen                                14.80 hrs at                 $    250.00 / hr                        3,700.00
ESI Processing                                N/A hrs at                  $      N/A / hr                         2,696.86
                                    TOTAL FEES                            15.80 hrs                      $        6,766.86


                                   DISBURSEMENTS & OTHER CHARGES

DATE             DESCRIPTION                                                                                    AMOUNT
05/31/17         OCR 4,088 pages @ $0.02/page: $81.76                                                                 81.76
05/31/17         ESI Conversion: Convert 0.10635 GB to TIFF images @ $500/GB:                                         53.18
                 $53.18
05/31/17         Ringtail Fees: May 2017 Data Storage Fees: 30.34899 GB @                                           455.23
                 $15.00/GB: $455.23
                                DISBURSEMENTS & OTHER CHARGES                $                                      590.17

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                                                 MATTER SUMMARY

Fees                                                                                                     $        6,766.86
Disbursements and Other Charges                                                                          $          590.17
MATTER TOTAL                                                                                             $        7,357.03
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                                      K&L GATES LLP
                                      925 FOURTH AVENUE
                                      SUITE 2900
                                      SEATTLE, WA 98104-1158
                                      T 206.623.7580 F 206.623.7022 klgates.com
                                      Tax ID No. 25 0921018




Westinghouse Electric Co. LLC                                                          Invoice Date                     :     July 21, 2017
1000 Westinghouse Drive                                                                Invoice Number                   :     3405767
Cranberry Township, PA 16066                                                           Services Through                 :     June 30, 2017
                                                                                       Our File Number                  :     0236915




                                                   INVOICE SUMMARY BY MATTER

CONFIDENTIAL -- e-DAT Fees (70030)

       Fees                                                                        $       25,621.92
       Disbursements and Other Charges                                             $          900.96
       Total Amount Due This Matter                                                                                                $         26,522.88



CURRENT INVOICE DUE - All Matters                                                                                                   $        26,522.88




This invoice reflects fees and costs not previously billed. Past due balances, if any, will be shown on a separate statement of account at the beginning of the
next month. Payment is due in U.S. dollars upon receipt. Funds may be wired to our account number 153557906580 US Bank, Private Financial Services, 1420
5 th Ave. Suite 2100, Seattle, WA 98101, ABA Routing Number 125000105, SWIFT Code: USBKUS44IMT. Check payments should be sent to K&L Gates LLP,
RCAC, 925 Fourth Ave., Suite 2900, Seattle, WA 98104-1158.
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CONFIDENTIAL -- e-DAT Fees (70030)                                           $26,522.88


                                        FEES

DATE       NAME                HOURS      DESCRIPTION                          AMOUNT
06/02/17   L. A. Diersen        0.50      Import and run search term             125.00
                                          family as requested by S.
                                          Bronder
06/02/17   L. A. Diersen         2.40     Generate HBT report and create          600.00
                                          associate "Hot Doc" review
                                          assignments as requested by S.
                                          Bronder
06/07/17   L. A. Diersen         0.40     Update external users                   100.00
                                          permissions as requested by S.
                                          Bronder
06/14/17   L. A. Diersen         0.40     Strategize with processing team         100.00
                                          in regards to processing new
                                          custodian data
06/15/17   L. A. Diersen         0.80     Update user permission as               200.00
                                          requested by S. Reger (0.2);
                                          update search term family and
                                          provide HBT report as
                                          requested by S. Bronder (0.6)
06/15/17   L. A. Diersen         0.40     Strategize with case team in            100.00
                                          regards to duplicate files found
                                          in newly loaded email for
                                          designated custodians
06/16/17   L. A. Diersen         0.40     Organize, stage and submit              100.00
                                          Ringtail Work order for data
                                          received from designated
                                          custodians
06/16/17   L. A. Diersen         1.70     update Responsive search term           425.00
                                          family, provide a HBT as
                                          requested by S. Bronder, isolate
                                          documents into a binder as
                                          requested by S. Reger
06/19/17   L. A. Diersen         0.60     Run advanced searches and               150.00
                                          isolate results based on search
                                          term family hits as requested by
                                          S. Bronder (0.6);
06/19/17   L. A. Diersen         0.60     Create HBT report in                    150.00
                                          anticipation of associate review
                                          as requested by S. Bronder
06/19/17   L. A. Diersen         0.60     Create assignments in                   150.00
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DATE        NAME                   HOURS     DESCRIPTION                            AMOUNT
                                             anticipation of review as
                                             requested by S. Bronder
06/21/17    L. A. Diersen            0.40    Strategize with case team in             100.00
                                             regards to availability of data
                                             and update user access as
                                             requested by S. Bronder
06/22/17    L. A. Diersen            0.50    Run advanced searches and                 150.00
                                             isolate results in anticipation of
                                             review as requested by S.
                                             Bronder
06/22/17    L. A. Diersen            0.70    Generate HBT report and                  175.00
                                             assignment sets in anticipation
                                             of review as requested by A.
                                             Cashman
06/22/17    L. A. Diersen            0.60    Electronically produce "WEC              150.00
                                             SEC 004" out of litigation
                                             support database per the
                                             request of A. Cashman for
                                             production to opposition (0.6);
06/22/17    L. A. Diersen            1.60    run advanced searches and                400.00
                                             isolate responsive documents
                                             for production as requested by
                                             A. Cashman (1.6)
06/23/17    L. A. Diersen            1.90    Electronically produce "WEC              475.00
                                             SEC 004" out of litigation
                                             support database per the
                                             request of A. Cashman for
                                             production to opposition
06/30/17    ESI Processing           N/A     ESI Processing: 209.7367 GB            21,996.92
                                             processed @ $50/GB =
                                             $10,486.83 (raw extracted
                                             volume - input); 46.0403 GB
                                             processed @ $250/GB =
                                             $11,510.09 (post- filtered
                                             volume - output); Total ESI
                                             Processing Charge: $21,996.92
                            TOTAL FEES                14.50 hrs                 $   25,621.92


                                 TIMEKEEPER SUMMARY

L. A. Diersen                        14.50 hrs at    $    250.00 / hr                3,625.00
ESI Processing                        N/A hrs at     $      N/A / hr                21,996.92
                            TOTAL FEES               14.50 hrs                 $    25,621.92
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                                   DISBURSEMENTS & OTHER CHARGES

DATE             DESCRIPTION                                                                                    AMOUNT
06/30/17         OCR 7907 pages @ $0.02/page: $158.14 ESI Conversion: Convert                                       281.19
                 1.230468GB to TIFF images @ $100/GB: $123.05
06/30/17         OCR 443 pages @ $0.02/page: $8.86                                                                    8.86
06/30/17         ESI Conversion: Convert 0.253 GB to TIFF images @ $500/GB:                                         126.73
                 $126.73
06/30/17         Ringtail Fees: June 2017 Data Storage Fees: 32.28 GB @                                             484.18
                 $15.00/GB: $484.18
                                DISBURSEMENTS & OTHER CHARGES               $                                       900.96

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                                                 MATTER SUMMARY

Fees                                                                                                     $      25,621.92
Disbursements and Other Charges                                                                          $         900.96
MATTER TOTAL                                                                                             $      26,522.88
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                                      K&L GATES LLP
                                      925 FOURTH AVENUE
                                      SUITE 2900
                                      SEATTLE, WA 98104-1158
                                      T 206.623.7580 F 206.623.7022 klgates.com
                                      Tax ID No. 25 0921018




Westinghouse Electric Co. LLC                                                          Invoice Date                     :     August 22, 2017
1000 Westinghouse Drive                                                                Invoice Number                   :     3417507
Cranberry Township, PA 16066                                                           Services Through                 :     July 31, 2017
                                                                                       Our File Number                  :     0236915




                                                   INVOICE SUMMARY BY MATTER

CONFIDENTIAL -- e-DAT Fees (70030)

       Fees                                                                        $         1,250.00
       Disbursements and Other Charges                                             $           817.26
       Total Amount Due This Matter                                                                                                $           2,067.26



CURRENT INVOICE DUE - All Matters                                                                                                   $          2,067.26




This invoice reflects fees and costs not previously billed. Past due balances, if any, will be shown on a separate statement of account at the beginning of the
next month. Payment is due in U.S. dollars upon receipt. Funds may be wired to our account number 153557906580 US Bank, Private Financial Services, 1420
5 th Ave. Suite 2100, Seattle, WA 98101, ABA Routing Number 125000105, SWIFT Code: USBKUS44IMT. Check payments should be sent to K&L Gates LLP,
RCAC, 925 Fourth Ave., Suite 2900, Seattle, WA 98104-1158.
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                                                                                 0236915
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CONFIDENTIAL -- e-DAT Fees (70030)                                          $2,067.26


                                        FEES

DATE       NAME                HOURS      DESCRIPTION                        AMOUNT
07/10/17   L. A. Diersen        0.50      Run advanced searches based          125.00
                                          on document decision and
                                          isolate results into binders as
                                          requested by A. Cashman
07/12/17   L. A. Diersen         0.40     WEC SEC Subpoena: Run                 100.00
                                          advanced searches and update
                                          document decision for
                                          responsive documents as
                                          requested by A. Cashman
07/13/17   L. A. Diersen         0.30     WEC SEC Subpoena: Run                   75.00
                                          advanced searches and track
                                          documents that do not hit on
                                          search term families in review
                                          set, as requested by A.
                                          Cashman
07/17/17   L. A. Diersen         0.30     WEC SEC Subpoena:                       75.00
                                          Strategize with A. Cashman in
                                          regards to running content
                                          searches
07/18/17   L. A. Diersen         0.30     WEC SEC Subpoena: Run                   75.00
                                          advanced searches and isolate
                                          results on specified content
                                          search as requested by A.
                                          Cashman
07/19/17   L. A. Diersen         0.70     WEC SEC Subpoena: Analyze             175.00
                                          and compile data set in
                                          preparation for production
07/21/17   K. R. Slavik          0.90     Analyze documents confirming          225.00
                                          compliance with WEC SEC 004
                                          document production
                                          specifications
07/21/17   K. R. Slavik          0.30     Analyze and review production           75.00
                                          media
07/31/17   T. M. Gracey          0.30     Analyze documents confirming            75.00
                                          compliance with production
                                          specifications
07/31/17   T. M. Gracey          0.30     Encrypt documents for                   75.00
                                          production, organize and
                                          prepare production media and
17-10751-mew            Doc 1363-11           Filed 09/14/17 Entered 09/14/17 10:43:57                           Exhibit J-2
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                                                                                                       Invoice # 3417507
                                                                                                                 0236915
                                                                                                              Page 3 of 3

DATE             NAME                            HOURS         DESCRIPTION                                      AMOUNT
                                                               accompanying letter for
                                                               shipment to Counsel at request
                                                               of A. Cashman
07/31/17         C. M. Kuffel                      0.70        Prepare Production No. 05 from                       175.00
                                                               Ringtail per the request of J.
                                                               Chiccarino
                                    TOTAL FEES                           5.00 hrs             $                   1,250.00


                                             TIMEKEEPER SUMMARY

L. A. Diersen                                2.50             hrs at      $       250.00     / hr                   625.00
T. M. Gracey                                 0.60             hrs at      $       250.00     / hr                   150.00
C. M. Kuffel                                 0.70             hrs at      $       250.00     / hr                   175.00
K. R. Slavik                                 1.20             hrs at      $       250.00     / hr                   300.00
                                    TOTAL FEES                                5.00 hrs                   $        1,250.00


                                   DISBURSEMENTS & OTHER CHARGES

DATE             DESCRIPTION                                                                                    AMOUNT
07/31/17         Ringtail Fees: July 2017 Data Storage Fees: 36.54 GB @                                             548.03
                 $15.00/GB: $548.03
07/31/17         ESI Conversion: Convert 11,497 GB 0.54 to TIFF images @                                            269.23
                 $500/GB: $269.23
                                DISBURSEMENTS & OTHER CHARGES                                            $          817.26

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                                                 MATTER SUMMARY

Fees                                                                                                     $        1,250.00
Disbursements and Other Charges                                                                          $          817.26
MATTER TOTAL                                                                                             $        2,067.26
